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                         VERIFIED IMPROPER PRACTICE PETITION
OFFICE OF COLLECTIVE BARGAINING
100 GOLD STREET,SUITE 4800
                                           Docket Number BCB-4408-20
NEW YORK,N.Y. 10038
MAILING ADDRESS; PECK SLIP STATION,P.O.BOX 1018
NEW YORK,NY 10038                                              Date Filed         12-21-2020
PHONE;(212)306-7160 FAX;(212)306-7167

INSTRUCTIONS: Consult the New York City Collective Bargaining Law, Chapter 3,Title 12 ofthe Administrative Code ofthe City
ofNew York(“NYCCBL”),§ 12-306, and the Rules ofthe Office of Collective Bargaining (Rules of the City ofNew York, Title 61,
Chapter 1)(“OCB Rules”),§ 1-07 and § 1-12. File original with OCB,including proofof service, and serv'e one copy on the
designated agent for each Respondent.

1. PETITIONER INFORMATION

Name:      Local 2, United Federation of Teachers, AFT, AFL-CIO

Address: 52 Broadway, New York, NY 10004

Phone: (201)207-8156                                    Email: lori.smith@nysut.org

2. RESPONDENT INFORMATION

Name:      City of New York/Office of Administrative Trials and Hearings(OATH)

Address: 100 Church Street, 12th Floor, New York, NY 10007

Phone: (212)933-3003                                   Email (optional):

3. ADDITIONAL RESPONDENT (ifapplicable)

Name:

Address:

Phone:                                                 Email (optional):


4. NATURE OF THE CONTROVERSY (failure to provide the following may result in delay or dismissal)

(a) List subsections ofNYCCBL § 12-306 claimed to have been violated: (a)1,4 and 5

(b) Using separate sheet(s) and numbered paragraphs, state in a clear and concise manner: the facts, including
names, dates, and particular actions constituting each violation. This statement may be supported by attachments but may
not consist solely of such attachments. Attach each document as a separate exhibit and explain its relevance;
(c) Attach relevant sections of agreements, rules, or policies involved;
(d) Provide an explanation why these actions constitute violations of the NYCCBL subsections specified;
(e) State the relief sought.

5. VERIFICATION


STATE OFNEW YORK )
COUNTY OF        JSS.:

                                               ,, being duly sworn deposes and says that(s)he is the petitioner above-named,
or its representative, and that(s)he has read the above charge consisting of this and     additional pages, and is familiar
with the facts alleged herein, which (s)he knows to be true, except as to those matters alleged upon information and belief,
which matters(s)he believes to be true.



                                                         Signature                                          Date
Subscribed and sworn to before me


      day of                   ., 200.




 Signature of Notary

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                                                                                                        OCB-2 Revised 10/2018
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                         DETAILS OF THE CHARGE
1. The Charging Party, the United Federation of Teachers, Local 2, AFL-CIO (“UFT” or
   the “Union”) is an employee organization and exclusive bargaining representative of
   Hearing Officers (Per Session) (“HOPS”) who preside over adjudications at the Office
   of Administrative Trials and Hearings (“OATH” of the “Employer”) and are employed,
   in this capacity, by the Respondent City of New York.

2. On September 27, 2007, the UFT was certified by the Office of Collective Bargaining
   (“OCB”) as the exclusive representative of the HOPS and subsequently entered into a
   collective bargaining agreement (“CBA”). The most recent agreement by and between
   the parties is annexed hereto as Exhibit “A”.

                     Unilateral Changes Instituted by the Employer
                  Without Notice or Bargaining over Decision or Impact

3. In March 2020 OATH closed its offices due to the Covid-19 pandemic. Beginning
   around March 23, 2020, OATH began to have certain HOPS work remotely by
   telephone. Prior to March 2020, the substantial majority of hearings were held in
   person at the offices of OATH. Although there was a remote unit in the past it was
   very limited in scope and individuals who were called to work in March were not in
   the remote unit.

4. A limited number of HOPS have been called upon to work remotely. For example, from
   the period of March 23, 2020 through May 23, 2020 only around 33 HOPS were
   scheduled out of a roster of around 350. Moreover, for the period of March 23, 2020
   through May 23, 2020 the established practice concerning submission of schedules was
   not observed and the criteria for selecting these HOPS, and continuing to the present,
   was said to be based on “agency need” without any description of the qualifications
   required to meet “agency need” despite requests for further information regarding this
   issue.

5. In around April 2020, OATH began to hold remote hearings, Beginning around late
   June 2020, HOPS have been submitting their monthly schedules as per past practice,
   however, it is unclear what criteria the Employer is using to determine which HOPS
   are assigned to work remotely.

6. In around April 2020, OATH instituted a remote work platform called “ATAS” that a
   significant number of HOPS could not utilize due to the lack of proper equipment or
   training. This has resulted, for all practical purposes, in those HOPS being rendered
   ineligible for work and removed from the roster contrary to established practice. See,
   Affidavit of Ilene Weinerman (“Affidavit”), at ¶ 6.




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7. Beginning in around June 2020, more HOPS were scheduled for remote work. In an
   effort to receive work, some HOPS have purchased equipment, or an extension for their
   current computer, at their own expense in order access the remote platform. When
   assigned work, these employees are not reimbursed for the equipment, paper, printers,
   ink, phone or other expenses incurred as a result of remote work. In a meeting on June
   30, 2020, the Commissioner of OATH stated that some laptops had been distributed but
   failed to state who received the laptops or how they were selected. Affidavit at ¶ 8.

8. Beginning in around May 2020, OATH unilaterally decided to change the hours of
   HOPS who are assigned to remote work to the hours of 8:30 a.m. to 4:30 p.m. where
   pursuant to established practice the HOPS had the ability to work flexible hours less
   than a full day and starting as early as 8:00 a.m. up to 10:00 a.m.

9. For those HOPS called to perform remote hearings OATH has unilaterally increased the
   workload substantially with back to back hearings being required with no or minimal
   time for preparation between hearings permitted. HOPS are monitored on-line by the
   administration and are immediately scheduled for the next matter. Moreover, HOPS
   since in around October 2020 HOPS have been required to sign in and out by email
   every day. Affidavit at ¶ 9.

10. Since around July 2020, OATH has unilaterally changed the breaks allowed for HOPS
    which were scheduled in the past. Now if a break is required for lunch, or personal
    needs, the HOPS must request permission for the break from OATH. Moreover, despite
    the increased workload, OATH unilaterally implemented a limitation on the hours when
    HOPS are allowed to write decisions. They cannot write decisions on scheduled days,
    weekends or holidays. This has increased the number of hours which HOPS are required
    to work beyond their scheduled days. In other communications, the HOPS are required
    to write up all decisions on the day of the hearings which also requires additional time
    outside the scheduled working hours.

11. Starting in around October 2020 more HOPS have been returned to work, however,
    OATH is requiring those HOPS to adjudicate in areas beyond their previously assigned
    work. Adequate training for such work has not been provided, even though it is
    necessary for continued employment. See, DC 37, 69 OCB 20, at 5-6 (BCB 2002)
    (Training is a mandatory subject when it is required as a qualification for continued
    employment or improvement in pay or work assignments). Moreover, OATH has
    unilaterally instituted a policy of not paying for mandatory CLE if the HOPS are not
    scheduled to work contrary to the agreement.

12. All of the above unilateral changes have been instituted without prior notice or
    bargaining with the UFT.




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                                  Demands for Bargaining

13. OATH stated in correspondence dated April 13, 2020 that the “agency will implement
    applicable safety measures recommended by DCAS and DOHMH for the reconstituting
    of a work force, such as regular disinfection, staggered work hours, and teleworking.”
    The Union demanded bargaining over those measures and their impact upon the
    bargaining unit employees in a letter dated April 15, 2020. See letter dated April 15,
    2020 annexed hereto as Exhibit “B”.

14. By letter dated April 22, 2020, the Acting General Counsel of OATH, Olga Statz,
    responded that the UFT’s concerns regarding the “health and safety of its members will
    be addressed at the appropriate time”. The letter further noted that plans for “safe
    reconstitution of the office” have not yet been sent by DCAS and DOHMH and that
    when those recommendations are received they would be discussed with the Union in
    “the ordinary course and in a manner consistent with the terms of the contract”. See
    letter dated April 22, 2020 annexed hereto as Exhibit “C”. The Union responded on
    May 2, 2020 noting that it wished to discuss the plans before they were finalized and
    again requested bargaining. See letter dated May 2, 2020 annexed hereto as Exhibit
    “D”.

15. On May 8, 2020, OATH responded that it was premature to discuss implementation of
    safety procedures and protocols and stated that it would discuss the recommended
    policies with staff before implementation. The letter also noted that OATH had already
    reached out to employees by soliciting their input and concerns. This appeared to be a
    reference to a survey distributed by email which was purportedly voluntary and
    anonymous. OATH has refused, despite two information requests, to provide copies of
    the survey sent to bargaining unit members. See copy of letter dated May 8, 2020
    annexed hereto as Exhibit “E”.

16. On July 2, 2020 the parties scheduled a labor-management meeting to discuss the
    pending issues and the UFT expressly noted that if there was no resolution the UFT
    continued to demand bargaining. At the meeting the UFT stated that it wished to
    discuss, among other issues, concerns over work availability, hours, fairness in work
    distribution, training, ability to conduct remote hearings and use of personal equipment
    for remote hearings. OATH stated its implemented policy that HOPS would have to use
    their own equipment and phones for remote hearing, stated that hours were not
    guaranteed and deferred about remedial efforts to make the offices safe for reopening.

17. By letter dated August 18, 2020, the UFT, through its Special Representative Ilene
    Weinerman, demanded bargaining on issues related to remote work and post-pandemic
    reconstitution of the workforce. An information demand was also sent the same day
    requested information relevant to bargaining and contract enforcement. See copy of


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   letter dated August 18, 2020 annexed hereto as Exhibit “F”. See copy of information
   demand annexed hereto as Exhibit “G”.

18. The Employer responded by letter dated August 27, 2020 that the UFT had no right to
    decisional bargaining under either the CBA or the law. Although the letter recognized
    the right to impact bargaining under the law it failed to respond to the request for dates
    for bargaining. Moreover, the Employer refused to provide any information requested
    stating, erroneously, that it had produced much of the information requested. See letter
    dated August 27, 2020 annexed hereto as Exhibit “H”.

19. The UFT responded by letter dated September 21, 2020 stating that it had repeatedly
    requested impact, as well as decisional, bargaining over the issues. The UFT demanded
    that the Employer meet to engage in impact bargaining over the issues and expressly
    reserved its right to challenge the Employer’s position concerning decisional bargaining.
    The letter also repeated the information demand noting that the substantial majority of
    documents requested had never been produced by the Employer. See letter dated
    September 21, 2020 annexed hereto as Exhibit “I”.

20. The Employer responded by email on September 25, 2020 that it had received the
    bargaining demand and information request and that an appropriate response was
    forthcoming. To date no response has been received.

                       The Employer is in Violation of the NYCCBL

21. As the exclusive representative of the HOPS, the UFT has a legitimate expectation that
     established terms and conditions of employment, including wages, hours and working
     conditions will remain unchanged during a contract term. Pursuant to New York City
     Collective Bargaining Law (“NYCCBL”) a unilateral change in a mandatory subject
     of bargaining is considered a breach of the duty to bargain under the NYCCBL. See,
     DC 37, Local 1549, 7 OCB 2d 3, at 17 (BCB 2014).

22. Even in areas which lay outside the scope of mandatory bargaining, when an employer
    exercises a management right in a manner that has an adverse effect of terms and
    conditions of employment and thus results in a practical impact, the duty to bargain may
    arise over the alleviation of that impact. Sergeants Benevolent Ass’n., Decision No. B-
    56-88.

23. Mandatory subjects of bargaining include wages, hours and working conditions. In
    unilaterally deciding to change to remote work, failing to follow the established
    procedure for submission of hours, failing to provide equipment or pay for expenditures,
    changing the hours of HOPS assigned to remote work and failing to provide training to
    HOPS the Employer changed existing terms and conditions of employment in violation
    of §§ 12-306(a)(1) and (5) of the NYCCL. Moreover, the Employer made such changes

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   without benefit of notice or negotiation with the UFT and it therefore failed and refused
   to bargain in good faith in violation of §§ 12-306(a)(1) and (4) of the NYCCBL.

24. Even assuming, arguendo, that certain of the above-mentioned unilateral changes are
    deemed to be the exercise of management right, the exercise of the management right
    had an adverse effect on terms and conditions of employment of the HOPS by rendering
    them ineligible for work, requiring HOPS to make additional, and substantial,
    expenditures thereby reducing compensation, failing to provide the training necessary
    to perform the changed duties of the job and rendering such employees ineligible to
    perform the changed duties of their positions. By failing to provide notice and refusing
    to bargain with the UFT regarding such changes the Employer failed and refused to
    bargain in good faith in violation of §§ 12-306(a)(1) and (4) of the NYCCBL. Sergeants
    Benevolent Ass’n., Decision No. B-56-88.

25. The Employer has further failed and refused to bargain with the union over mandatory
    subjects of bargaining regarding health and safety issues associated with reconstitution
    of the workforce including but not limited to issues regarding regular disinfection,
    staggered work hours and continued remote work, issues regarding leave or
    accommodations, screening processes, impact of potential closures due to infection and
    other issues relating to safe return to the workplace in violation of §§ 12-306(1) and 4)
    of the NYCCBL.

26. In soliciting input and concerns directly from employees by survey in around May 2020,
    the Employer engaged in direct dealing with employees, bypassing the UFT, thereby
    subverting the HOPS organizational interests and interfering in the HOPS exercise of
    their rights under § 12-306(1) and (4). Uniformed Firefighters Ass’n, Dec. No. B-5-
    2002 (BCB 2002) (direct communication subverted members’ representational rights).
    See also, Wallkill Valley General Hospital, 288 NLRB 103, 106 (1988) (survey
    constituted impermissible direct dealing particularly since the survey was issued prior
    to bargaining).

27. By failing to provide information requested by the UFT which was relevant for the
    purposes of bargaining over the above matters the Employer violated NYCCBL §§ 12-
    306(1) and (4) and 306(c)(4). Dist. Counsel 37 v. City of N.Y., Dec. No. B-35-99 (BCB
    1999).

                                           Remedy

28. This claim is for all relief available under the law to which the UFT is entitled, including
    but not limited to an order requiring the City to 1) cease and desist from unilaterally
    changing mandatory terms and conditions of employment; 2) to cease and desist from
    failing to bargain over both mandatory subjects of bargaining or to engage in impact
    bargaining; 3) to make unit members whole who have been rendered ineligible for

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  employment or incurred additional expenses or loss of revenue as a result of the
  unilateral changes, whole; 4) to bargain over the imposition of, or changes to, mandatory
  terms and conditions of employment; or in the alternative regarding the practical impact
  of such changes should such changes be deemed by the OCB to concern non-mandatory
  subjects; 5) to cease and desist from engaging in direct dealing; 6) to immediately
  provide information responsive to the information request provided by the UFT; and 7)
  for such other, further and different relief as is appropriate.




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                         EXHIBIT A




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                                                                AGREEMENT

                                                                    between


                                                         United Federation of Teachers
                                                Local 2,American Federation of Teachers,AFL-CIO

                                                                     and


                                                            The City of New York

                                                                   covering

                                                              Hearing Officers

                                                               (Per Session)



                                        i'       September 25,2007- November 30, 2018




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                                                                                                                                                      Art. Ill

                                                                                       “Procedures for Orderly Payroll Check-Off of Union Dues and Agency
                                                                                       Shop Fees.”
agreement entered into                     ers pursuant to and limited
the City of New York                 rZirLert to be covered by the
                                                                                 b.     Any Employee         ‘^"[{f^mpiOTce’sVagesln^^^^      designation
to their respective elf 'ons ^ Slaving Law and their respective                         deduction of dues from       PJ g     consent,if given,shall be m
New York City                 S7S behalf(hereinafter referred to                                                                   h b=»                or«»
authorizations to Ibc               Federation of Teachere, Local 2,                    a
 as the “Employer’) and                     or the “UFT”)(collectively                  Employee,


 30,2018.                                                                        The
                            WITNESSETH!
                                                                                  reference into this Agreement.
                                                  collective bargaining and
whereas,the Parties hereto have entered into
Sreduce the results thereof to writing.                                                                    article III - HOURLY RATE

 NOW,THEREFORE,it is mutually agreed as follows;


   aktici-ei-union recognition and UNIT DESIGNATION
                                                                                            II,led below        ^fhe3errt«,w^*0 Oly“l'N«w’^*
                                                                                  Fun'                     w Vo*City Bo.,d otEdueelion. doted M.y 1.2014.
  fjjectionJL          ,     ,      i „ jj,, the sole and exclusive collective                                                    Effective        Effective
                                                                                           Effective          Effective
  The Employer                         ai„it,g unit consisting ofemployees of                                                   May 1,2014     September 1, 2014
                                                                                      September 25,2007      May 1, 2013
  bargaining represstative ^            j the below listed title, and m any                                                   Hiring Incumbent Hiring  incumbent
                                                                                                           j-jiring Incumbent -          Rate   Rate      Rale
                                                                                       Hiring               Rate       Rate   Rate
                                                                                        Rate
                                                                                                                                        $40.26 $42.57 S45.40
                                                                                                                      S39.86 $37.34
  SES=vSES.Xs-«P—                                                                     $36.60     $39.47    $36.97


            liikjQadfi                                                                                                       Effective         Effective
                                 jSdfg Officer (Per Session)                                                    Eftective
            95937                                                                            Effective
                                                                                                             October 1,2015 May 1,2016        May 1,2017
                                                                                            May 1,2015                           Incumbent Hiring Incumbent
                                                                                       HirinK Incurmwni Hiring Incumbent Hiring
                                                                                                                          Rate      Rate    Rate      Rate
                                                                                        -        Rate   -   ■
                                                                                                         Rate     Rate
                                                                                        Rate                                                         $51.27
                                                                                                                                           $47,56
                                                                                                                 $47.39 $45,49 $49.04
                                                                                       $43.86 $47.29 $43.96

                      article II-DUES CHECKOFF                                                                Effective
                                                                                             Effective
                                                                                            May 1,2018      June 16,2018

                                                                                         Hiring Incumbent Hiring
                                                                                                           Rate
                                                                                                                  Incumocni
                                                                                                                     Rale
                                                                                          Rate      Rate
         of dues on              S^May IS 1969, entitled “Regulations                             $52.28     $49.94   $53.85
                                                                                        $48.49
         Executive Order No. 98, Jted M 7   ^ . accordance with he

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Case                                                                                                                                                   An ¥
 Section 2. New Hires.
                                                                                       b.   A claimed violation, misinterpretation or misapplication eiftte
      1. A Hearing Officer (Per Session) who has been paid at the
          “Incumbent Rate” as of the date of the ratification of this                       written rules or written regulations, existing written poScyor
          Agreement sliall continue to be paid at the applicable “Incumbent                 written orders of the Employer applicable to the agency wHs*
          Rate” as set forth in Section 1.                                                  employs the grievant affecting terms and conditions osT
                                                                                            employment; provided, disputes involving the Personnel Rifes
     2,   A Hearing Officer(Per Session) who has been paid at the “Hiring                   and Regulations of the City of New York shall not be subjsdto
          Rato” shall continue to be paid at the applicable “Hiring Rate” as                the grievance procedure or arbitration;
          set forth in Section 1 until his/her two year anniversary of City
                                                                                       c,   A claimed assignment of Employees to duties substantidly
          employment at which time he/she shall be paid at the applicable
          “Incumbent Rate” as set forth in Section 1,                                       different from those stated in theirjob specifications.

     3.   Any individual first employed as a Hearing Officer(Per Session)         Section 2.
          after the date ofthe ratification ofthis Agreement shall be paid at     The Grievmicc Procedure shall be as follows:
          the applicable “Hiring Rate" as set forth in Section 1 until his/her
          two year anniversary of City employment at which time he/shc            Employees may at any time infomtally discuss with their superviswsa
          shall be paid at the applicable “Incumbent Rate” as set forth in        matter which may become a grievance. If the results of such a discussion
          Section 1.                                                              are unsatisfactory, the Employee may present the grievance at Step I,

                                                                                 All grievances must be presented in writing at all stops in the grievance
      ARTICLE IV- PRODUCTIVITY AND PERFORMANCE                                   procedure.

The Parties acknowledge their mutual rights and obligations under the New        Step I         The Ernployec and/or the Union shall present the grievwice
York City Collective Bargaining Law including the Employer’s right to                           in the form of a memorandum to the person designated fbr
determine the standards of services to be offered by its agencies; determine                    such purpose by the agency head no later than 120 days alter
the standards of selection for employment; direct its Employees; take                           the date on which the grievance arose. The Employee may
disciplinary action; relieve its Employees from duty because oflack of work                     also request an appointment to discuss the grievance, The
or for other legitimate reasons; maintain the efficiency of governmental                        person designated by the Employer to hear the grievanee
operations; determine the methods, means and personnel by which                                 shall take any steps necessary to a proper disposition of the
governmental operations are to bo conducted; take all necessary actions to                      grievance and shall issue a determination in writing by the
carry out its mission in emergencies; and exercise complete control and                         end ofthe third work day following the date ofsubmission
discretion over its organization and the technology of performing its work,
                                                                                 Step II        An appeal from an unsatisfactory detenninalion at STEP I,
At the request of the Union, the Commissioner or his/her designee shall meet                    where applicable, shall be presented in writing to the agency
at reasonable intervals to discuss issues related to productivity and                          head or the agency head’s designated representative who
perfonnance.                                                                                   shall not be the same person designated in STEP 1. The
              ARTICLE V - GRIEVANCE PROCEDURE                                                  appeal must be made within ten(i 0)work days ofthe receipt
                                                                                               ofthe STEP I determination. The agency head or designated
                                                                                               representative, if any, shall meet with the Employee and/or
S££to,1i.-„Pcflp|(|pp;                                                                         the Union for review of the grievance and shall issue a
The term “Grievance” shall mean;                                                               determination in writing by the end of the tenth work day
                                                                                               following the date on which the appeal was filed.
    a.    A dispute concerning the application or interpretation of the terms    Step III      An appeal from an unsatisfactory determination at STEP 11
          of this Agreement;
                                                                                               shall be presented by the Employee and/or the Union to tlie

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           Commissioner of Labor Relations in writing within ten (10)        Section 3.
           work days of the receipt of the STEP II determination. The
                                                                             The Parties agree that the Agency has the discretion to schedule Lteanng
           grievant or the Union should submit copies of the STEP I
                                                                             Officers(Per Session) based on the needs of the Agency.
           and STEP II grievance filings and any agency responses
           thereto. Copies of such appeal shall be sent to the agency
           head, The Commissioner of Labor Relations or the                 Because the Parties share a mutual interest in promoting the adjudfcaHive
                                                                            independence ofHearing Officers(Per Session), they agree as follows; The
           Commissioner’s designee shall review all appeals from            Union and/or an Employee may file an appeal under this Section wkman
           STEP II determinations and shall issue a detennination on        individual Hearing Officer(Per Session) believes that s/he has expetiKBced
           such appeals within fifteen(15) work days following the date     a denial of hours that substantially deviates from prior scheduling deefewms
           on which the appeal was filed.                                   for one of the following reasons:
 Step IV    An appeal from an unsatisfactory determination at STEP III           a,   In retaliation for issuing decisions that were adverse to the aiyor
            may be brought solely by the Union to the Office of                       any agency, or
           Collective Bargaining for impartial arbitration within fifteen
           (15)work days of receipt of the STEP III detennination. In            b.   In retaliation for a refusal to violate a law, regulation,lule, aotifor
           addition, the Employer shall have the right to bring directly              code in the performance or scope of his/her duties.
           to arbitration any dispute between the Parties concerning any
           matter defined herein as a “grievance,” The Employer shall       Such appeals are subject to the following procedure:
           commence such arbitration by submitting a written request
           therefor to the Office of Collective Bargaining.                 Step I         The Employee and/or the Union shall present the appeal in
                                                                                          the form ofa memorandum to the Managing Attorney ofthe
           A copy of the notice requesting impartial arbitration shall be                 site where the Employee is assigned, or the Managkg
           foi-warded to the opposing party. The arbitration shall be                      Attorney’s designee, not more than thirty(30)days after the
           conducted in accordance with Section 1-06 ofTitlc 61 of the                    date on which fiie Employee became aware or should have
           Rules of the City Of New York. The costs and fees of such                      become aware of the denial of hours that substantially
           arbitration shall be borne equally by the Union and the                        deviates from prior scheduling decisions. The Employee miy
           Employer.                                                                      also request and shall be permitted to have an appointment
                                                                                          to discuss the appeal. The Managing Attorney or hMter
           The assigned arbitrator shall hold a hearing at a time and                     designee shall take any steps necessary to a proper dispositton
           place convenient to the Parties and shall issue an award                       ofthe appeal and shall issue a detemiination in writing by the
           within thirty(30)days after the completion of the hearing.                     end of the third day following the date of submission. The
                                                                                          failure to issue a determination in writing shall be deemwi a
           The arbitrator’s decision, order or award (if any) shall be                    denial of the grievance.
           limited to the application and interpretation ofthe Agreement,
           and the arbitrator shall not add to, subtract from or modify     Step II       An appeal from an unsatisfactory determination at STEP I
           the Agreement or any rule, regulation, written policy or order                 shall be presented in writing by the Employee or the Union
           mentioned in Section 1 ofthis Article, The arbitrator’s award                  to the OATH Commissioner or the Commissioner’s designee,
           shall be final and binding and enforceable in any appropriate                  who shall not be the person designated at STEP I. The appeal
           tribunal in accordance witli Article 75 of the Civil Practice                  must be made within ten (10) working days of tlie receipt of
                                                                                          the STEP I determination. The OATH Commissioner or the
           Law and Rules. The arbitrator may provide for and direct
           such relief as the arbitrator deems necessary and proper,                      Commissioner’s designee shall meet with the Employee
                                                                                          and/or Union for review ofthe appeal and,in any event, shall
           subject to the limitations set forth above and any applicable                  issue a determination in writing by the end ofthe tenth work
           limitations of law.
                                                                                          day following the date on which the appeal was filed. The

                                 5                                                                               6




                                                                                                       Hyman Reply Dec. Ex. C - 12
  Case
 An. V         1:21-cv-11150-ALC Document 44-3 Filed 02/09/22 Page 13 of 164                                                                                        I
                                                                                                                                                          An. V
                  failure to issue a determination in writing shall be deemed a                    method set forth in the Rules of the Office of Collective
                  denial of the appeal.                                                            Bargaining § 1.06(e).
Step 111                                                                                           Fees and expenses related to the arbitration shall be governed
                  An appeal from an unsatisfactory determination at STEP II
                  may be brought solely by the Union to the Office of                              by Rules of the Office of Collective Bargaining § 1.09(c) to
                                                                                                   the extent applicable.
                 Collective Bargaining for impartial arbitration within fifteen
                 (15)days ofreceipt ofthe STEP II determination. A copy of                          Hearings are limited to one day per appeal.
                                                                                                   The Parties will exchange all documents and evidence that
                 the notice requesting impartial arbitration shall be forwarded
                 to tlie Employer, The cost and fees of such arbitration shall                     they each intend to introduce at the hearing to the extent
                                                                                                   available, no later than one calendar week before the
                 be borne equally by the Union and the Employer.                                   scheduled hearing date.
                                                                                    SMiftOii
                 The assigned arbitrator shall hold a hearing at a time and date    As a condition to the right of the Union to invoke impartial arbitration set
                 convenient to the Parties and shall issue an award within
                                                                                    forth in this Article, the Employee or Employees and the Union shall be
                 thirty (30) days after the completion of the hearing.              required to file with the Director of the Office of Collective Bargaining a
                                                                                    written waiver of the right, if any, ofthe Employee and the Union to submit
                 The arbitrator’s decision, order or award (if any) shall be        the underlying dispute to any other administrative orjudicial tribunal except
                 limited to the application and interpretation of this Article,     for the purpose ofenforcing the arbitrator’s award.
                 and the arbitrator shall not add to, subtract from or modify
                 the Agreement or any rule, regulation, written policy or order
                 mentioned in Section I ofthis Article. The arbitrator’s award     S£.9if9,n.S,
                 shall be based on a preponderance of the evidence. The            A grievance concerning a large number of Employees and which concerns
                                                                                   a claimed misinterpretation, inequitable application, violation or failure to
                 arbitrator shall decide whether the Employer denied the
                 Hearing Officer (Per Session) houre because of the reasons        comply with the provisions of this Agreement may be filed directly at
                 listed above. The arbitrator’s award shall be final and binding   STEP III of the grievance procedure. All other individual grievances in
                                                                                   process concerning tlie same issue shall be consolidated with the “group”
                 and enforeable in any appropriate tribunal in accordance with     grievance. Such “group” grievance must be filed no later than 120 days after
                 Article 75 of the Civil Practice Law and Rules.
                                                                                   the date on which the grievance arose, and all other procedural limits,
                                                                                   including time limits, set forth in this Article shall apply.
                 Any remedy ordered pursuant to this appeal procedure shall
                 be prospective in nature, and limited to offering hours equal
                 to the number of hours found to have been improperly denied
                 for the reasons listed above. No Hearing Officer(Per Session)     If a determination satisfactory to the Union at any level of the Grievance
                                                                                   Procedure is not implemented within a reasonable time, the Union may
                 shall receive monetary compensation for houre not worked.         re-institute the original grievance at STEP III of the Grievance Procedure;
                 There shall not be any retroactive remedy, nor any award of       or if a satisfactory STEP III determination has not been so implemented,
                 retroactive pay or back pay.                                      the Union may institute a grievance concerning such failure to implement at
                                                                                   STEP IV of the Grievance Procedure.
Arbitration proceedings pursuant to this Section shall be governed by the
Rules ofthe Office ofCollective Baigaining (Rules ofthe City ofNew York,           Section 7.
Title 61, Chapter 1) § 1.06, with the following modifications:
                                                                                   If the Employer exceeds any time limit prescribed at any step in the
                                                                                   Grievance Procedure, the grievant and/or the Union may invoke the next
           ●    Tlie arbitrator shall be chosen from a panel list established
                                                                                   step of the procedure, except however, that only the Union may invoke
                by mutual agreement of the Parties selected from the panel         impartial arbitration under STEP IV.
                register maintained pursuant to the Rules of the Office of
                Collective Bargaining § 1.09(bXl)(iii). The arbitrator in each
                case will be appointed from the panel list using the selection     The Employer shall notify the Union in writing of all grievances filed by

                                      7                                                                                 8




                                                                                                                 Hyman Reply Dec. Ex. C - 13
                                                                      Art. VI1:21-cv-11150-ALC Document 44-3 Filed 02/09/22 Page 14 of 164
                                                                     Case
                                                                                                                                                                                                                            AiiiM
                                                                      Employees, aU grievance hearings, and all dctcrmimilions. The Union shall
                                                                      have the right to have a representative present at miy grievance hearing and    with the City and on Union activities shali be governed by tJie tcrrt» af
                                                                      shall be given forty-eight(48) hours’ notice of all grievance licarings.        Executive Order No. 75.as amended,dated March 22, i 973, entitled "SMu
                                                                                                                                                      Spent on the Conduct of Labor Relations between City and Its Emplt^eus
                                                                      Section 9.                                                                      and on Union Activity” or any successor thereto.
                                                                      Encli of the steps in the Grievance Procedure, as well as lime limits
                                                                                                                                                             ARTICLE X - LABOR-MANAGEMENT COMMITTEE
                                                                      prescribed at each step ol this Grievance Procedure, may be waived hy
                                                                      mutual agreement of the Parties.

                                                                     'Section 10.                                                                     TIic Employer and the Union, having recognized lliat cooperation bctv«?dt
                                                                                                                                                      management and Employees is indispensable to the accotiipiishmena njf
                                                                     This grievance and the arbitration procedures contained in (his Agrccmciu        sound and harmonious labor relations, shall jointly maintain and siipptmUi
                                                                     shall be the exciusive remedy for the resolution of dispiite.s defined :us       labor-management committee in each of the agencies having at least ottO
                                                                     “grievances” herein, This shuil not be interpreted to preclude either parly      hundred (100) Employees covoied by this Agreement,
                                                                     from enforcing and/or vacating the arbitrator’s award in court, This Section
                                                                     shall not be construed in any manner to limit the slauitoi-y riglUs and
                                                                     obligalion.s of the Employer under Article XIV ofthc Civil Service Law.         Each labor-mamigcment committee shall consider and recommend tol^'
                                                         m                 ARTICLE V! - BULLETIN BOARDS: EMPLOYER EACILITIES
                                                                                                                                                     agency head changes in the working conditions ofthc Employees within
                                                                                                                                                     agency who arc covered by this Agreement, Matters subject to the GrievssK®
                                                                                                                                                     Procedure shall not be appropriate items (.or consideration by the lalw^
                                 4                                   The Union may post notices on bulletin boards in places and locations where     maiiagcineiit committee.
                                                                     notices usually arc posted by the Employer for the Empioyee.s to read. AI]      Section .3.
                                                          'it        noticc.s shall be on Union stationery, and shall be used only to notify
                                            ■                        Employees of mattcr.s pertaining to Union affairs. Upon rcquc.st to the         Each labor-management eonrniittcc shall consist of six members who slell
                                                                     responsible official in charge of a work location, the Union may use            serve for the term ol this Agreement. The Union shall designate tltnio
                                                                     Employer prcmi.scs for meetings during Employcc.s’ lunch hours, subject to      members and the agency head shall designate three members. Vacancies sl»lt
                                                                     availability ofappropriate space and provided such meetings do nol infcrlcfc    be filled by the appointing party for the balance ofthc term to be served.
                                                                     with the Employer’s business.                                                   Each member may designate one altcrnalc, Each committee shall select a
                                                                                                                                                     chaiipcrson from among its members at each meeting. The citairpersonshtp
                                                %                                                                                                    of each committee shall alternulc between the members designated by the
                                                                                           ARTICLE VI! - NO STRIKES
                                                                                                                                                     agency head and the members designated by the Union, A quomm sltal!
                                                                                                                                                     consist of a majority of the total membership of a committee. A committee
                                                                     In accordance with the New York City Collective Bargaining Law, a.s             shall make its recommendations to the agency head in writing.
                                                                     amended, neither the Union nor any Employee .shall induce or engage in any
                                                                     strikes, slowdowns, work stoppages, mass absenteeism, or induce any mass        Section 4.
                                                                     lesignations during the term of this Agreement,                                 The labor-management committee slmll meet at the call of either the Union
                                                                                                                                                     members or the Employer members at times inutimlly agreeable to both
                                                                      ARTICLE VIII - EXCLUSION FROM CITYWIDE ACJREEMENT                              Parties. At least one week in advance of a meeting the party calling the
<i yi. ?● 'i 'f                                                                                                                                      meeting shall provide, to the other party, a written agenda of matters to bo
                                                                     The title under this Agreement, having been classified imdcrCily Personnel      discussed. Minutes .shall be kept and copies supplied to all members of the
                                                                                                                                                     committee,
                                                                     Rule X, is excluded from coverage of the provisions of the Cilywide
                                                                     Agreement.
                                                    V.                                                                                                          ARTICLE XI - FINANCIAL EMERGENCY ACT
                                                                                         ARTICLE IX - UNION ACTIVITY
                  .   ●.   ■>●
                                                                                                                                                     The provisions of this Agreement are subject to applicable provisions of law,
                                                                     Time spent by Employee representatives in the conduct ol’hibor rdnlions         including the New York Slate Financial Emergency Act for the City ofNuw
                                                                                                                                                     York as amended.

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                                                                S,                                                                                                               Hyman Reply Dec. Ex. C - 14
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       Art. XII
      Case   1:21-cv-11150-ALC Document 44-3 Filed 02/09/22 Page 15 of 164                                                                                             Art. Xtri
                            ARTICLE XII - APPENDICES                                      WHEREFORE,we have hereunto set our hands and seals this 12th day of
                                                                                          Juno,2015,
       The Appendix or Appendices, if any, attached hereto and initialed by the
       undersigned shall be deemed a part of this Agreement as if fully set forth
       herein.
                                                                                          FOR THE CITY OF NEW YORK:               FOR UNITED FEDERATION OP TE/VCHERS:
                        ARTICLE XIII - SAVINGS CLAUSE

       In the event that any provision ofthis Agreement is found to be invalid,such
       invalidity shall not impair the validity and enforceability of the remaining
                                                                                      1   HI                                          BY
       provisions of this Agreement.                                                           ROBERT W.UNN                                  Mil        MWKOREW
                                                                                               Commlssionot ofLabor Ralatiora                Piesidem
                         ARTICLE XIV ■ APPLICABILITY

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  r
       The provisions of this Agreement are expressly made subject to and
       governed by all applicable existing and future laws and regulations and
                                                                                          APPROVED AS TO FORM;                           ■     OFfICE OF lABOR IIEIAIIOHS
                                                                                                                                                   REGISTRA.TION
                                                                                                                                      OFFICIAL                    CONTRACT
       amendments thereto which are deemed applicable to this Agreement.

                     ARTICLE XV - WORKING CONDITIONS

       The impact of physical working conditions us it affects professional
                                                                                          DATE SUBMITTED TO THE FINANCIAL CONTROL BOARD:
       performance shall be referred to the Labor-Management Committee                    2015
       provided in Article X ofthis Agreement. To the extent practicable, advance                                                    .NO4SD06                          CATE:
       notice of major changes in physical working conditions affecting a
       substantial number of Employees shall be given to the Union.
                                                                                                                                                                      U.^oK
                                                                                          W07-1018 IlRAHlNU OFTK/lUl(PCRSMSIONI

J ■                  ARTICLE XVI - PERSONNEL FOLDERS
1
      An Employee shall be permitted to view the Employee’s personnel folder
      up to three times a year. The viewing shall be in the presence of a designee
      of the Employer and held at such time and place as mutually convenient for
!     the Employee and the Employer.

      The Employee shall have the right to answer in writing any material relating
      to the Employee’s work performance or conduct and the answer shall be
      attached to the file copy.                                                      f



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                                                                                                                            Hyman Reply Dec. Ex. C - 15
Case 1:21-cv-11150-ALC Document 44-3 Filed 02/09/22 Page 16 of 164
UNIT: Hearing Officer(Per Session)

TERM: September 25,2007 ^ November 30, 2018                                    Office of Labor Relations
                                                                                     40 Rector Strset, New York, N.Y, 10008-170S
                                                                                                       n/o-oov/Qlr


                                                   ROBBRTW. LINN                                                                 (MYRA e.Bail
                                                   CommlM^iner                                                                   a4mt>owmt
                                                                                                                                 CtWBDCmBR
                                                   RENEE CAMPION
                                                    Fknt D»paty Cotmlo&lonor                                                     OBOROBTTEQSSiaV
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                                                       OOHMlilAVWf
                                                    inm


                                                     April 29,2015

                                                     Mlchiiel Mulgrew
                                                     Prcsidenl
                                                     United Federation of Toecherg
                                                     52 Broadway- 14“' Floor
                                                     NewYorit.NV 10004
                                                           REt 2007-2018 Hearing Oniccr(Per Seulnn)Agreement
                                                     Dear Mr. Mulgrew;
                                                     Effective September 1, 2014, the bnrgaining unit shall have available ftinda In the amount ol
                                                     .SI,098,236.00 in rate to purchase recurring benefits, mutuBlIy agreed to by the Parties.

                                                     The above amount of fttnds available is iaclusivo of apinoffa and pensions, The Parties agree
                                                     tliat this obligation is hilly satisHed by tlie additional increase in the hourly rate of pay eilliscKvu
                                                     September 1,2014,in Article III, Section I of the parOos' collective bargaining agreement.

                                                     Ifthe above accords with your undcratending, please cxcouto the slgnahiro line below.

                                                                                                             Very



                                                                                                            Robert W.Linn


                                              ><     Agreed end                Bw

                                                      III          iw                                       Date
                                                                                                                          13, 2olS
                                                    President
                                                            '
                                                    United Federation ofTeachers




                                13                                                                   14




                                                                                      Hyman Reply Dec. Ex. C - 16
Case 1:21-cv-11150-ALC Document 44-3 Filed 02/09/22 Page 17 of 164


                                                                                                      Ifthe above oecords with your underatenditig, please execute the signature line provided btittw.
                            OFFICE OF Labor Relations
                               40 Rector Street, New Yoik, N.V. 10006-1705
                                                 n>o.sov/clr


ROBERT W.UNN                                                             mftAS. ASU.
Ootmfsstoner                                                             OiMirjdCBWM
                                                                         CKinS WRN6R
RENEE CAMPION                                                            OMtllMf
 FkBl Deputy Cotnmlssiofw                                                OeOROeTTBOe»THLV
CLAlRBLBVJn                                                                                                                                               Robert W. Linn
0*puiyGmtmMa\$r

                                                                                                      Agraed and Accepted Byi
  AprU29,2015

  Michael Mulgrew,President                                                                                                                               DATED;                        2015
  United Federation of Teachers                                                                              >IMuli
  52 Broadway                                                                                         President f           ^
  New York,N.Y, 10004                                                                                 United rcderatlon of Toaohers

          REt 2007-2018 Hearing Ofllcer(Per Session)Agreement

  Dear Mr. Mulgrew;'

  This letter confirms certain mutual understandings and agreements regarding the above
  captioned Agreement;
 Anniiammlt OP Homa Worked
 RfGsctivo July 3,2011, pursuant to Executive Order 148, the administrative tribunals established
 by the Board of lltsaltb pursuant to Section 558 of the City Charter, and by the Taxi and
 Limousine Commission pursuant to Section 2303 of the City Charter, together with all matters
 ponding before them, were Ihnctionally iransf^d to OATH.
 Pet the understanding of the Patties at the lime of the ftindional transfer. Heating Officers (Per
 Session) who were employed at more than one adrainielratlve tribunal prior to July 3,2011, and
 continue to be asaigned to more than one administrative tribunal at OATH,shall continue to be
 subject to on annual 1000 hour cop for each tribunal assigned. The list of Covered Employees
 who continue to be employed os Hearing Officers(Per Session) is attached hereto os Atlaohracat
 A, In the event that tlic administrative tribunals consolidate, the Coveted Employees who
 continue to bo employed as Hearing Officers (Per Session) ahali be subject to an nrniual 2000
 hour cap.

 All other Hearing Officers (Pet Session) at OATH will bo subject to n total annual cap of 1000
 hours of work regardless of what types ofcases they are assigned.




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                                    OFFICE OF Labor Relations                                                                                  Office of Labor Relations
                                           40Redor8tr9ot. New York, N.Y. 10008-1708                                                               40 Rector street, NSW Yofk, N.Y, 1000B-1705
                                                                                                                                                                   nyo.QovMr




                                                                                  MAYRAfe seii                    ROBERTW. LINN                                                           MAYRA e,B8U.
         ROBfiRTW. UNN
         Camfsshner                                                               OKMfCmsif                       ConmUBSkMf
                                                                                  OHRIBUdmieR                                                                                             CNA88BRMR
         RENEe CAMPION                                                                                            RSNEE CAMPION                                                           ekatttaiati
          Fdal Doputy OommkstOMr                                                                                   Plret Dvputy Carmlaaionor                                              OKonaeTT8aesTei.Y
                                                                                  QOOHaETTeOBSTEI.y
                                                                                  afKtof. CnmfooBtfiata*AnwNiti   CUmS LEVITT                                                             CAMw.<7/nM9WRWMHPmom
         CLAmBteVlTT
         OaputfComltsieaar                                                                                        OmityCemntthMr
           Htnih Cm CMiMintoatnaM                                                                                   H»Mt CanCoatNanaqsmn


           April 29,2015                                                                                            Aprll29,20:5

           Michael Mulgrew,President                                                                                Michael Mulgrew, President
           United Federation of Teachers                                                                            United Federation ofTeachera
           52 Bronciway                                                                                             52 Broadway
           New York, N.Y. 10004                                                                                     New York, N,V. 10004

                 REs 2007-2018 Hearing Officer(Per Session)Agreement                                                      REi 2007-2018 Hearing Officer(PerSwaian) Agreement
           Dear Mr. Mulgrew:                                                                                        Dear Mr. Mulgrew:
           'litis letter confirms certain mutual understandings and agreements regarding the above                  This letter conllrms certain mutual understandings and agreements regarding the above
           captioned Agreement:                                                                                     eeptioned Agreement:
                                                                                                                    Blood ilonnHon
           Hearing Offioers (Per Session) sliall continue to have access to Continuing Legal Eduontion              Employees who donate blood tlirough the Now York CKy Employee Blood Program dtsfeg
           C'CLE") conducted by City agencies on the same basis as full time attorneys employed by                  hours they are scheduled to work will be paid for aohial lime used to domite blood, InolwSnd
           OATH, Heating Officers (Per Session) shull not receive compenaallon to attend any CLE                    travel time, up to a maximum of three hours. Employees must notify their manager in advanneef
           program except for CLE tliat la provided as part of mandatory training by OATH. Nothing in               the date of thoir participation in the New York Qty Employee Blood Program and provkfe s
           this provision ahoU limit the City’s right to make any changes to Cily-oonduclcd CLE programs            copy ofthe receipt ftom the donation site following their donation.
           inetuding the right to eliminate eny or all such programs.                                               Any othor typo ofblood donation will not he eligible Ibr payment for lime used.
           If the above accords with your understanding, please execute the signature line provided below.          Ifthe above accords with your undoratanding, please execute the signature line provided below.


                                                                                                                                                                                         1
                                                               Robert W. Linn
                                                                                                                    Agreed and Accepted By:

           Agreed and Accepted By:
                                                                                                                                                                       DATED;    Jnnt 13           ,2015
                                                                                                                    Michael Mulgfb^
     5
                                                              DAI'ED:    JMAe. 1 1            ,2015
                                                                                                                    President
                                                                                                                    United Federation ofTendicrs
          President
          United Federation of Teacliera
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                        Office of Labor relations                                                                            Office oflabor relations
                                40 Rector Strasl, New York, N.Y. 10006-1708                                                         40 Rector Street, New York. N.Y. 1OOO0«17O6
                                                  nyo-OoWotr                                                                                          nyogoWM



ROBERT W.UNN                                                             MAVRA S-fiBU               ROBERT W.LiNN                                                            MAme.Bfla
Ct                                                                                                  Catmliakmtr                                                              QommOome!
                                                                                                                                                                             CHRIS Bi»NCR
RENEE CAMPION                                                            omtofam                    RENEE CAMPION                                                            OMatna
f^Oepufy CommisBioMr                                                     OflORQFneoBuraY             E»W Ptpaly Commlmlmgr                                                   OaOROBTTBCWSTSLV
ouiRHUvrrr                                                                                          CWKffi LEYrtT
OwifOmmmntr                                                                                         OtfiinfCotnmlstimt
 HntftGmCo$iUaiui}vmf                                                                                mm ctm cm< Nmoftmt

  April 29,2015                                                                                       April 29,2015

  Michael Mulgrow, President                                                                         Mioliael Mulgrcw, President
  United Federation of Teachers                                                                      United Fcdontion of Teachers
  52 Broadway                                                                                        52 Broadway
  New York, N.y. 10004                                                                               New York,N,Y, 10004
        RE: 2007-2618 Hearlag Officer(Per Session) Agreement                                               REt 2007-2618 Hearing Olficcr(Per Sesalon)Agreement
  Dear Mr. Mulgrcwi                                                                                  Dear Mr. Mulprew:
                                                                                                     This Is to confirm certain mutual understandings and agroements regarding the above captiewcl
  captioned Agreement;                                                                               Agraement:
 itnci;.BRtr                                                                                         The Parties acknowledge their shared mutual interest In promoting the a^ludkaiivt!
 Hearing Officers (Per Session) will be paid for lime spent in actual Jury duty service during       independence of llearinB Officers (Per Session)In OATH. The ptoceduic set forth in ArtfcfcV,
 sclicdulcd hours of work in the same manner as provided in Section Vlll (D) of the OATH             Seelion 3(Scheduilng disputes) is established In furtherance ofthat interest
 Employee MamiaJ for Full and Part Time Staff Covered by the Career and Salary Plan, oxcepl
                                                                                                     This latter expresses the luiderstonding between the Parties Ihul by agreeing to the eslahiisimetli
 that Hearing Officera (Per Session) who have been Issued a summons for jury duty service prior
                                                                                                     of this procedure, the City is not recognizing Individual due process rij^ts for Hearing Officert
 to being scheduled for hours In the period covered by the summons will not be paid for jury duty    (Per Session) under civil service law and does not waive any argument or defense to any fiaetu
 serviee fbr woik hours that the Employee requested after the summons was Issued,                    claim of due process rights for Employees in the Utlc of Hearing Officer (Pet Sesalon). Thu
 if the above accords wltli your understundlng, please oxceule the signature line provided below.    Parties agree that the ihot of tlds procedure or die cirounslances surrounding Us esiablistmcAt
                                                                                                     will not bo cited as evidence that Employees in the iteating Officcw (Per Session) title era
                                                                                                     entitled to due process.
                                                                                                     If the above accords with your undorstanding,please execute the signature line provided below.
                                                     Robert W. Linn

 Agreed and Accepted By;


                                                     DATED;               I 3,    ,2015
                                                                                                     Agreed and Accepted By;
 Michael Mulgrew ^
 President
 United Federation ofTonchers

                                                                                                    Michael Muliftew ^
                                                                                                                                                         DATED:   ;            12     ,2015
                                                                                                    President
                                                                                                    United Federation ofTeachers




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                                                                  UFT
                                                       United Federation of Teachers
                                                               A Ur\ion Qf Professroosh


                                                                                                                 Allison S. Costanzo
                                                                                                          Direct Dial: 212-510-6397
                                                                                                                    ACostanzo@uft.org
April 15,2020

Amy Sliflca
Deputy Commissioner
Office of Administrative Trials and Hearings
66 John Street, 10th Floor
New York,NY 10038
Aslifka@oath.nyc.gov

Dear Ms. Slifka:

It has come to the UFT’s attention that OATH has notified Hearing Officers Per Session of its
intention to re-open the borough offices for business effective May 4,2020. Subsequently, some
ofour members conveyed to you, as well as the new commissioner,legitimate concerns about
safely returning to their work sites during the ongoing pandemic. These concerns result from the
hazardous and unacceptable conditions that our members endured in the weeks leading up to the
office shutdowns in March,including but not limited to cramped and poorly ventilated hearing
rooms,overcrowded public waiting areas, and inadequate access to disinfecting supplies.

In your correspondence dated April 13, you stated that “the agency will implement applicable
safety measures recommended by DCAS and DOHMH for the reconstituting of a work force,
such as regular disinfection, staggered work hours,and teleworidng”. As the authorized
bargaining representative for the hearing officers per session, the union demands bargaining over
the implementation ofthese measures and their impact on the health and safety of our members.

Sincerely,




Allison S. Costanzo
Assistant General Counsel
United Federation ofTeachers

Cc: Uene Weinennan,UFT Special Representative




                                     52 Broadway, New York, NY 10004 p: 212.777.7500 www.ufl.org

 Officers; Michael Mffigrew Pmskient Howard Schoor Seaetary, LeRoy        Assistant Sscretery,  Aamnson Traasmer, Thomas Browtt Assistant Tmasatar
               Vice Presidents; Karen Alford, CamrnenAlvaBZ, Evelyn Dejesus. Anne Goldman,Jantiia Hmds,Richard ManteU,Sterling Rtteerson



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                                                 Hyman Reply Dec. Ex. C - 22
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                                 OATH
                                            Office of
                                            Administrative
                                         ■I Trials and Hearings
                     100 Church street, 12™ floor. New York, New York 10007
        JONIKLETTER                                                               OLGASTATZ
         COMMISSIONER                                                        ACTING GENERAL COUNSEL
CHIEF ADMINISTRATIVE LAW JUDGE                                                     <212)933-3003
         (212)933-3001



                                                         April 22, 2020
Allison S. Costanzo
United Federation of Teachers
52 Broadway
New York, N.Y. 10004

Dear Ms. Costanzo:

Your letter to OATH Deputy Commissioner Amy Sliflca, dated April 15, 2020, was referred to me
for response.

Your concerns regarding the health and safety of your members at OATH’S borough offices will be
addressed at the appropriate time. As previously advised, DCAS and DOHMH have not yet set
fortii a plan for the safe reconstitution of the office.

When OATH receives the recommendations, these matters will be discussed with the union in the
ordinary course and in a manner consistent with the terms of the contract.

The borough offices will re-open at the earliest on May 15, 2020. The members who are not
satisfied with the safety measures announced are under no obligation to schedule themselves to
hear matters pending before the Tribunal.

Finally, in order to better address Hearing Officer concerns, I respectfully request that, going
forward, your members address their concerns by letter to me, preferably collectively, and not
piecemeal in emails sent to various members of OATH executive staff.

                                                         Very truly yours.




                                                         Olga Statz
                                                         Acting General Counsel
                                                         ostatz@oath.nyc.gov

CC:      Amy Slifka, OATH Deputy Commissioner
         Ma^ew Campese, OLR
         Ilene Weinerman, UFT Special Representative
         Cynthia D. Fisher, Assistant Genei^ Counsel OATH


                                                                      Hyman Reply Dec. Ex. C - 23
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                                                             UFT
                                                   United Federation of Teachers
                                                           AlMmotProtessimsIs



May 2,2020

Olga Statz
Acting General Counsel
Office of Administrative Trials and Hearings
100 Church Street, 12* FI.
New York,New York 10007

Dear Ms. Statz,

1 am writing in response to your correspondence dated April 22, 2020.

We appr«:iate that OATH intends to discuss with the Union the recommendations it receives from DCAS
and DOHMH concerning reconstitution ofthe offices. That is precisely why the Union has reached out to
OATH now,to ensure that the concerns ofour Hearing Officers Per Session members are heard and
addressed before plans for re-opening the offices are finalized.

Our members want to return to work. Like all employees,they are entitled to a work environment that is
safe and healthy. As reported to the Union, working conditions in the OATH borough offices m the days
leading up to tire closure cleariy did not fit that description, and there is pervasive mistrust of
management’s willingness to address health and safety issues based on a long history ofinaction that pre
dates the current pandemic.

There is now an opportunity to remedy that perception through productive dialogue between the parties
about the safety protocols and procedures that will be in place. Toward that goal, the Union repeats its
demand to bargain over implementation ofthese measures. Please advise as to OATH’s availability for
these discussions to begin.

Sincerely,




Allison S. Costanzo
Assistant General Counsel
United Federation of Teachers

Cc:     Ilene Weinerman, UFT Special Representative
        Matthew Campese,OLR




                                  52 Broadway, New York, NY 10004 p: 212.777.7500 www.uft.org

       Michad Muigrew Pmschitt Howard Schoor Secretaiy^ Lel^y Bsot Assistant Seaatary, Mel Asthisot Treasumr.Thomas &Dwm Assistant Treasurer
          \Ace Prasidei^:Kaen Alkxd,Carmen           Evelyn DeJesus, Anne G<^<knai, Jan^ hfifKis, l^k^iard Mantel,Stedmg Robwson




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                                               Office of
                               OATH            Administrative
                                               Trials and Hearings

                    100 Church street,12™ floor.New York,New York 10007
       JONI IO.ETTER                                                                  OLGASTATZ
        COMMJSSIOKER                                                                GENERAL COUNSEL
CHIEF ADMINISTRAHVELAW JUDGE                                                          (212)933-3003
        (212)933-3001




                                                             May 8,2020
Allison S. Costanzo
Assistant General Counsel
United Federation of Teachere
52 Broadway
New York,N.Y. 10004

Dear Ms. Costanzo:

Thank you for your letter of May 2,2020.

While we appreciate your concerns, as stated in our letter of April 22,2020, it is premature at this
time to discuss the implementation ofany safety procedures and protocols. We are still awaiting
the recommendations ofDCAS,DOHMH and the Law Department. As stated before, OATH will
discuss their recommended policies with staff before implementation.

In addition, please note that OATH has already taken steps to engage employees in the
reconstitution process. Specifically, in order to ensure that it has a comprehensive picture ofstaff
concerns and questions, on May 5,the agency distributed an agency wide bulletin soliciting input,
concerns and questions on this issue from all employees. Based on those queries and previously
expressed concerns, OATH will prepare responses to some Frequently Asked Questions(FAQs)
for general distribution.

Again, please be assured that we will reach out to discuss recommended reconstitution policies
with all employees before implementation.

                                                             Very truly yours.




                                                            Olga Statz
                                                            General Counsel

CC:    Amy Sliflca, OATH Deputy Commissioner
       Ilene Weinerman, UFT Special Representative
       Matthew Campese,OLR




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                                                                         UFT
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                                                                      AVn^off*ofsssiors6s




Ms. Amy Sliflca, Deputy Commissioner
Office ofAdministrative Trials and Hearings
100 Church Street 12th FI.
New York,New York 10007

Ai^ust 18,2020

          RE:            DEMAND FOR BARGAINING


Dear Ms. Slifka;

Since April 2020,the United Federation ofTeachas has requested bargaining with New YotIc City and OATH
regarding issues relating to remote woric and the reconstitution ofthe wtskfOTce due to the pandemic. The City
has deferred such discussi<ms as “premature” d^ite the UFT’s insistence tm its ri^it to be involved in
negotiations ova fh^e issues prira- to finalization.

You were again notified, before the LabOT-Management Meeting held in July 2020, that the UFT continued to
demand bargaining ifissues wae not resolved Be advis^ that y«jr &ilure to bargain with the UFT ova these
issues, including, but not lunitod to,at the July 2020 Labor-Management Meeting, constitutes a violation ofthe
New Yak City Collective Bargaining Law(“NYCCBL”)among cUha rdevant laws.

Please be further advised that absent immediate action by New York City and OATH to commence bargaining,
tile UFT will take all legal action required to ensure tbat its members’ intassts are protected

An infonnation request is beii^ salt to you unda separate cova.


                                                                                            Sincaely,


                                                                                            Ilene Weinaman
                                                                                            UFT Special Representative


CC:    Olga Statz, OATH General Counsel
       Matthew Canq>ese, OLR
       Lori Smith, Senior Coun^l,NY State United Teaclters
       Cynthia Fisltor, OATH General Counsel


                                          52Broadviay,Nev/Tot's. NY 10004 p: 212.777.7S00 www.ufi.org

      C«ic«-5 Michaei Muigrew Presklera, LeRoy Barr Secreiary. Michael S81 Assistant Secretary, Debts Penny Treasurer, Uiomas Srovin Asststant Treasurer
                     IT-Skteots: Karen AifortJ. Mary Jo Gir.ese. Evesyn DeJesus. Anne Goldman. Janeiia Hinds. Hichard MantsH, Stsrlins Roberson




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                                                              UnKfid Federation of Teachers
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Ms. Amy Sliflot, Depuly CcHomissioner
OfiBce ofAdmini^ralive Trials and Hearings
100 Church Street 12*FL
NewYoiitNYKKH)?


August 18,2020
Dear Ms.Slifka-

Hie United Federation ofTeachas requests die following information in prqwation for upcoming bai^aining
sessions residing remote work,“reconstitutitHi’’ ofdie wtakforce and ofha pandemic related topics and to eaosnre
continued enf<»rcement ofthe collective bargaining agreement by and between die parties;

        1. AH documentation,including drafts, notes, WOTking documents,emails or any rther writings in any
           mednim(“documents’^ relating to die safety measures and protocols which New York City and
           OATH(togedier “OATH”)are reviewing cs intend to implranait relating to die “reconstitution” of
           die workfcoce when OATH offices are leqieaed.

        2. Provide all documraitation refened by OATH in its ccHrrespmdence dated A^l 13,2020 r^irding the
           “applicable safety measures leccmnnaKied by DCAS and DOHMH          dm rectmstituting ofa woik
           force,such as regular disinfecticm,stag^xed weak hemrs,and telewcHking” and any subsequent
           documoits received ctmeoning same m:providing details coimmiing such issues.

        3. Provide all sdiedules submitted by Hearing Officers Pa- Session fca- remote weak for the period of
           Mardi 23,2020 dnou^ June 2020. Provide copies of all commonications by OATH with Hearing
           Officers Pa Session durii^ this timeframe regar^g schedules and the method employed by OATH
           to select which Hearing Officers were contacted ot pafonn ronote woric.

        4. Provide a copy of“agoicy wide bulletin soliciting iiqmt, concons and questions” r^arding die
           “reconstitution” process referred to by Olga Stat^ Gaieral Counsel, OATH,in ha letter data!May 8,
           2020 nmhidmg the distrftiution list fca- the same.

        5. Provide ce^ies of all documaos issued by OATH ot Hearing OfBcos Pa Session, or available to
           Hearing Officos Pa Sesskm by otha sources(ai^ name die smnee)regarding reconstituiimi ofthe
           wctfkfcsrce, including but not limited to any documents concerning safety and health protcmols,
           ret^iaung ofoffices,FAQs,guidelines, ronote work, equipmoit required or jffovided, hours to be
           worked,scheduling procedures.

        6. Provide ail documents regarding remcte wmk far Hearing Officos Pa Sessicai, umhidh^
           documoitaticHi related to die platform to be used for remote hearings,(ktos such platfia-m was to be in

                                           52 Broadway, New Yorfe, NY 10004 p: 212.777.7500 www.ufi.org


       C5Sk?,?; MfeSiaei Mulgraw Pmsidert, LeRoy Barr Sacretsiy, Miifiiael Si8 AssistarJ Secmtaiy. Debra Penny Tmasurer,fliomas Brown Assistant Trsasurar
                 ●-'ic* .=’-=^5l<ients; K^en /Word, Mary Jo Ginese, EveSyn DeJesus, Anns Gr*lman, Janeia hards, fbehard titetrtell, Steifing Hobeison




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           operation,training to be provide},type ofequ^ment leqaired to utilize the hearing platform
           inchiding conqnito- ecpi^moit or internet resources, issuance ofany equipment to Hearing Officers
           Per Session for remote work and reimbursement for equipment and supplies.

        7. Provide all docom^s issued to H^riag OfBmisPer Session notifying ihm ofinstitution ofremote
           work and its r^piirem^rts, including tedinical aspects as weU as infinmation regarding submission of
           schedules for such work.

        8. Provirfc;a listing ofall Hearing OfficesPer Session scheduled ftn remote h^rin^ during the paiod
           ofhfay 23,2020 to ttie fHesent,lay p^j^od,with all hours wmked each day by each Hearing
           Officer Per Sessirm during each such pay period.

       9. Provide schedules submitted by Hearing OfiBcesPa Sessfon for ronote hearing during the Period of
          May 23,2020 to die present wh^ha- ot not such individiial was scheduled fia:remr^ hfarings or
          work. Pkase describe the “agency needs” taken into account in scheduling thie Hearing Officers Per
          Session.

        10. Provide documentation n^rdii^ die numbo^ ofcases to be heard by Hearing Offices Per Session
            frtMn March 23,2020 the fKcsait brdken down by pay i^riod.

        11. ProvKte a listing ofany Hearing Offices Pe S^sion who are deemed to be essential anployees or
            who have bem requested to be jdiysicaily iMtsod at a wfflksitefw OATH.

        12. Provide any ^icum^atation relating to leave{uotectian for employees who are diagnesed whh
            COVn>-19 OT required to care fiK- a femily membOT with COVID-19,or quaiantmed fw potential
            exposure to COVlD-19,who cannot appear for scheduled sessiems, whethe- remote ot in-person, as a
            result

Please provule the requested mformation no later than Au^ist 28,2020. This requ^ is continuing and will be
modified ot amended by the UFT as required.

Thank you in advance fOT your aiqjeration. Please feel free to contact me with ai^ questions or issues which
may arise.

                                                                        Sincerely,


                                                                        Bene Weinerman
                                                                        UFT Special Rqiresentative
CC:     Olga Statz, OATH General Counsel
        Matthew Campese,OLR
        Loti Smith, SeniOT Counsel,NY State United Teachers
        Cynthia FMiar,OATH OoiOTal Counsel




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                                            Office of
                           OATH             Administrative
                                         ■I Triai^ and Hearings
                  l(M> Church Street, 12™ FutxiR, New York, New York 1(»07

       JONJ KIKTTER                                                                     OLGA STATZ
        COMMISSIONER                                                                   GENERAL COUNSEL
CHIEF ADMINISTRATIVE LAW JUDGE                                                           (2I2)9.13-J003




                                                            August 27,2020
Ilene Weinerman
UFT Special Representative
52 Broadway
New York, NY 10004

        RE:     DEMAND FOR BARGAINING

Dear Ms. Weinerman,

By letter dated August 18,2020, the UFT has demanded bargaining on issues related to remote
work and to post-pandemic reconstitution of the workforce. The UFT, however, has no right to
bargain on these issues under either the agreement between the union and this agency or under
the Collective Bargaining Law. The former makes no specific grant, and the latter allows
bargaining over the practical impact of policies adopted, not respecting the policies themselves.
The UFT’s demand to bargain is therefore declined.

The agency also declines UFT’s request for additional information. Much of the information
presently sought by the union was provided to it in the aftermath of the Labor Management
meeting held between the parties on July 2,2020. Please make reference to that information.

Please note, however, that OATH is willing to conduct another labor management meeting with
the union in the coming weeks.


                                                             Very truly ^'ours,



                                                                      (MS{'
                                                             Olga Stati ^     V.   ,




C:      Matthew Campese, OLR
        Lori Smith, Senior Counsel, NY State United Teachers
        Cynthia Fisher, OATH Assistant General Counsel




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                       EXHIBIT I




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                                                                              UFT
                                                                  Uri:eo Federation of leacners
                                                                         A Union ofPw^skjnais


Ms.Olga State, Goieral Cwinsel
OflBce ofAdministrative Trials and Hearings
100 Church Stre^ 12* floor
New York,NY 10007

Septonbcr 21,2020

Dear Ms.Statz:

As you are aware,the United Fedoration ofTeachers(“UFT^ has rq)eatedly requested bargaining, b(^ over decision aiai
inqjact, of issues related to remr^ w(»k and post-pandemic reconstitution ofthe wwlcforce.

While you may disagree ovar Ihe UFT’s ri^tto engage in decisional bargaining, you have agreed, in your l^ter dated
August 27,2020,that impact bargaining is required upon demand regarding “practical impact of policies adcpted,” 'fhat
demandfw inqiact bargaining has bear made rq>eatedly by the UFT,including, but not limited to, in my most recart
communication in which I aqrressly stated that the UFT requested decision and intact bargaining.

We strenuously disagree that cotain decisions made by OATH are not within the ambit oflegally required bargaining.
Moreovor,absent production ofrelevant documentation requeued by die UFT,it is difficult to detomine whetha certain
decisirms made are subjo:t to bargaining. To the extent OATH continues to re&ise to en^ge in ary decisional bargaining,
the UFT reserves ite r^it to raise this issue before the Office of Collective Bargaining fer r^hitiotL It is, howevar,
without challenge that inqiact bargaining is required unda die|Hcsent circumstances. Accwdingly, be advised that this
l^ta is again demanding that bargaining witit OATH commence immediately, at a minimum over impact, subject to our
resCTvation ofri^ts stated above.

Please be fiirdiar advised that your response to the UFT’s demand for infenrmation is wholly inadequate. The UFT is well
within ite ri^tto request all documentation issued by OATH to bargaining unit members regarding remote wrsrk, re-
(^lening and other related issues, <»: relevaid ot a discussion ofthese mattes and the impact uprm toms and ccuiditions of
employment. Mcreover,the substantial majority ofdocuments requested have not been provided,to the UFT or
individual bargaining unit monbas te:lading, but aaX.limited to,schedules submitted for work, hours wwked by each
assigned Hearing Officer from May 2020(the date ofthe last repOTt issued)to the present, basic retqienii^ plans, a copy
ofthe airvey issued agaacy wide soliciting input, concerns and questions, among mult^le otha documents. I am
armexing a copy oftlto infcHmation request and ask that responsive matoials be(H'ovided immediate^.

I look forward to hearing from you regarding pnmipt dates fix' bargaining.

Please feel free to contact me ifyou have any questions or ccmcems.

Sincaety,



Ilene Weinaman, Special Rqiresetnative


CC: Amy Siifka, OATH D^utyCranmissiona
    Lori Smith, Senior Counsel,NY State United Teachers
    Matthew C^airqKse, OLR

                                                52 Broadvifasf, Naa Yesis, NY 10004 p; 212,777.7500 w/m.u^.org
            OiiKers Michasl Mul^eiv PissideiH. LeRoy Bair SacreSar/. Michael SB! Assistmt Secteta/y. Debra Penny I rsasurer. Thomas Brown Assislanf Treasurer
                      Vice F’resictents. Karen A!fo.nj, Siteiy Jo Qiness,Evelyn DsJesus. Anne GofdrRan, Jsnella Mods, Rlnhard Meniell. Sterling Roberson
                                                                                                                                                                6*
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From:Schwecke, Carmena(OATH)<cschwecke@oath.nvc.gov>
Sent: Thursday, July 9,2020 9:09 AM
To: Akinrefon, AkinwaSe (OATH); Badner, Beth (OATH); Brem, Laura (OATH); Brown,Sharon (OATH); Cappelio,
Dennis S.(OATH); Chen, William (OATH); crawford, keri-Ann (OATH); Dodell,Sue Ellen (OATH); Fairdough, Pamela
(OATH); Feinerman,Sheila (OATH); Feinman, Meredith (OATH); Finkel, Melanie(OATH); Follett-Figueroa, Danielle
(OATH); Frenkel, Sylvia (OATH); Friedman, Vivian (OATH); Garcia, Elizabeth (OATH); Ghunney, Albert(OATH);
Glaser, Pauline(OATH); Glatt, Debra(OATH); Gorman, Michael(OATH); Handler, Alan (OATH); Hudson, Ebonette
(OATH); Israel, Herbert(OATH);Julius DiFiore(OATH); Lange!!, John (OATH); Leader, Rhonda (OATH); Lief, Stephen
(OATH); Lotson, Adrienne (OATH); Martinez, Marcelo(OATH); Mercurio, Patrick (OATH); Mono, Henry(OATH);
Murray, Ciinvern (OATH); Negron, Wanda(OATH); Ojinnaka, Cornelius(OATH); Pierre, Natasha(OATH); Fitter,
Janet(OATH); Rizzo, Albert(OATH); Ross, Kristina(OATH); Samotin, Nancy(OATH);Sewell,Jamin (OATH); Shifrin,
llene(OATH);Spector, Malcolm (OATH);Stern, Patricia(OATH);Stiefei, Howard (OATH);Tabacco, Lucy(OATH);
Tolan, Margaret(OATH); Turiet, Robinanne(OATH)
Subject: FW:ATAS PowerPoint Training

Good Morning Hearing Officers,


Although OATH will not be offering formal ATAS training, attached is an excellent step-by-step
PowerPoint presentation on how to use ATAS.


Please note that if you are scheduled to adjudicate cases remotely,and you experience any operational
issues(or any other type of problem), you can always contact Joel or Jerilyn for help by e-mail.


Thank you. Stay safe and Be well.

Carmena




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                      EXHIBIT “B         9?




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 From:'Tucker, Joel M.(OATH)” <JTucker8t5)oath.nvc.aQv>
 Date: June 10, 2020 at 2:52:32 PM EOT
 To:"Badner. Beth(OATH)" <BBadn6r@oath.nvc.aov>. "Fairclough, Pamela(OATH)"
 <EEgjrcjouail.@path.nyc.qov>,"Feinman, Meredith (OATH)" <MFeinman@oath.nvc.aov>."Frenkel,
 Sylvia (OATH)" <SFrenkei@oath.nyc.qov>,"Friedman, Vivian (OATH)" <VFrtedmaR@oath.nvc.aov>.
"Garcia, Elizabeth(OATH)" <EGarc5a8@.oath.nvc.aov>. "Ghunney, Albert(OATH)"
 <jtenney@toat.h.nyc.qov>,"Glaser. Pauline(OATH)" <PGiaser2(5)oath.nvc.aQv>."Gorman, Michael
(OATH)” <MGorman@oath.nyc.qov>."Handler. Alan (OATH)" <AHaidier@03th.nvc.aQv>."Hudson,
 Ebonette(OATH)" <EHu.dson2@oatli.rwc.qov>. "Israel, Herbert(OATH)" <Hisraei@oath.nvc.qov>.'
"Leader, Rhonda(OATH)" <RLeader8@oath.nvc.aov>."Mono, Henry(OATH)" <HMono@oath.nvc.oov>.
"Ojinnaka, Cornelius(OATHf <COiinnaka@oath.nvc.qov>. "Pierre, Natasha (OATH)"
 <|jP.ig.rr§@path.nyc.qov>,"Ross, Kristina (OATH)" <KRoss2@oath.nvc.Qov>. "Samotin, Nancy(OATH)"
 <NSamotin@oath.nvc.qov>. "Shifrin, llene(OATH)" <IShifrin8@oath.nvc.aov>. "Spector, Malcolm
(OATH)" <MSBectpr@oath.nyc.gov>. "Stiefel, Howard (OATH)" <HStiefel@oath.nvc.qov>.'Tabacco.
 Lucy(OATH)" <LTabacco@path.nvc.gov>. "crawfbrd, keri-Ann (OATH)" <kcrawford@oath.nvc.aov>.
"Julius DiFiore (OATH)" <idifiore@oath.nvc.qov>. "Feinerman, Sheila(OATH)"
<§Feinerman@oath.nvG.qov>."Finkel, Melanie (OATH)" <MFinkel@oath.nvc.aov>."Chen, William
(OATH)" <V\OieD2@oath,nyc.gov>."Turiel, Robinanne(OATH)" <RTuriei@oath.nvc.aov>."Negron,
Wanda(OATH)" <WNeqron@oath.nvc,gov>."Lotson, Adrienne(OATH)" <ALotson@oath.nvc.aov> ’"Lief
Stephen(OATH)" <SLief@oath,n¥.c,.qov>, "Dodell, Sue Ellen (OATH)" <SDodeli2@oath.nvc.qov>.
"Sewell. Jamin (OATH)" <JSeweH2@o3th,nvc.aov>. "Stern, Patricia (OATH)" <PStern@oath nvc.gov>.
"Martinez, Marcelo(OATH)" <MMartinez02@oath.nvc.aov>."Murray, Clinvern (OATH)"
<CM,urrav-2i@oath.nyc.qov>."Brown, Sharon (OATH)" <SB.rown5@okh.nvc.qov>."Tolan, Margaret
          <MTpJg.D@oath^nyc.gov>,"Brem, Laura(OATH)" <LBrem@.oath.nvc.aov>."Cappello Dennis S
(OATH)" <DCappello@oath.nvc.aov>
Cc:"Rubin, Jerilyn F.(OATH)" <JRubin@oath.nvc.aov> "Fitter, Janet(OATH)" <JPitter@oath nvc.gov>.
"Schwecke, Carmena (OATH)" <cschwecke@oath nvc.aov>
Subject: Schedule




Dear Colleagues,

i hope that you and your families are safe and healthy.

In anticipation of expanding remote hearings for respondents in July 2020, please email me your July
availability by June 15. 2020.

Please note that, at this time, no hearing officers will be allowed to conduct hearings in person at the
hearing office.

Agency needs, and certain requirements and factors, will be considered for selecting hearing officers for
remote hearing work assignments.

Therefore, before requesting remote hearing assignments, please know that you must accept and agree
to the following additional requirements:

   n LiOs must have access to a computer and a cell phone or land line;

   l Must be comfortable adjudicating all types of OATH cases;

   l Must be able to write up all cases on the same day of their hearings; and




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    l Must be ready to start hearings at 8:30AM.{The assigned hours are from 8:30AM to 4:30PM.)

You will be sent an email confirming your assignment(s) before the end of this month.

Thank you for your cooperation.




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From:Schwecke, Carmena(OATH)<cschwecke@oath.rwc.gov>
Sent: Tuesday, October 20, 2020 6:18 PM
To: Anik, Arthur(OATH);Tucker, Joel M.(OATH); Rubin,Jeriiyn F.(OATH); Mitchel, Mary(OATH); Fitter, Janet
(OATH); Archer, Simone(OATH); Follett-Figueroa, Danielle(OATH)
Subject: New Check-out protocol



Before you sign-out at the end of each work day you must send an email to Court Call
Staff (Kelly Corso,Joann Rattansingh, Lou Rasso, and James Moore]letting them know yo u
are signing out for the day. Please send the email at least 10 minutes before you actually
sign-out in case court call staff needs to contact you. You are required to "check-out" with
Court Call Staff every day going forward.Thank you. Carmena




Carmena B. Schwecke
Assistant Commissioner, OATH Hearings Division

31-00 47'h Avenue, Long island City, NY 11101

Office 718-393-6020

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                                VERIFICATION FOR IMPROPER PRACTICE PETITION


STATE OF NEW YORK)
COUNTY OF)SS.:


            /H>                           , being duly sworn, deposes and says that I am the petitioner
or its representative in this matter and that I have read this electronic submission consisting of data entered in the OCR’s
electronic improper practice fomi, this verification and any additional pages that have been attached to the electronic submission.
1 am familiar with the facts alleged herein, wly^ I know to be true, except as to those matters alleged upon information and
belief, which matters T believe to be true.



                    Signature                                                        Date                       /JZO


Subscribed and sworn tocbefore me

     day of                     20:2^


d                    ^SJUlC/)
Signature of Notar>'


                                             INCHOLYO
                                         NOTARY PUBLIC OF NEW JERSEY
                                         Commission E)q)ires 2/11/2024
                                             ID Number: 2311188




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OFFICE OF COLLECTIVE BARGAINING
BOARD OF COLLECTIVE BARGAINING
-------------------------------------------------------------------X
In the Matter of the Improper Practice Petition

                  - between -

UNITED FEDERATION OF TEACHERS, LOCAL 2,                                    VERIFIED ANSWER TO
AFL-CIO                                                                    IMPROPER PRACTICE
                                                                           PETITION
                                                     Petitioner,

                          -and-                                            BCB-4408-20

CITY OF NEW YORK, NEW YORK CITY
OFFICE OF ADMINISTRATIVE TRIALS & HEARINGS,

                                                      Respondents.
-----------------------------------------------------------------------X

        Respondents, by their attorney Steven H. Banks, General Counsel, Office of Labor

Relations of the City of New York, by John Supik, Assistant General Counsel, as and for their

Verified Answer to the Improper Practice Petition, pursuant to Title 61 of the Rules of the City of

New York, respectfully allege as follows:

1. Admit the allegations contained in Paragraph “1” of the Improper Practice Petition.

2. Admit the allegations contained in Paragraph “2” of the Improper Practice Petition.

3. Deny the allegations contained in Paragraph “3” of the Improper Practice Petition and aver
                                                                           PETITION
    that while OATH’s physical offices were closed due to the COVID pandemic, their

    operations and services continued. Aver that the “remote unit” referenced in Paragraph “3”

    is a unit that conducted remote hearings from OATH offices prior to the onset of COVID and

    was not working remotely from their home.

4. Deny the allegations contained in Paragraph “4” of the Improper Practice Petition, and aver

    that there is an active roster of 258 Hearing Officers Per Session (HOPS) who are available



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   to be scheduled if they request days. There are roughly 70 HOPS that have declared

   themselves inactive, meaning they are not available to receive assignments.

5. Deny the allegations contained in Paragraph “5” of the Improper Practice Petition, and aver

   that agency need is the only criteria that has ever been used to schedule HOPS, and that there

   is no past practice of providing any scheduling criteria to the Union.

6. Deny the allegations contained in Paragraph “6” of the Improper Practice Petition, and aver

   that the Administrative Tribunal Automated System or “ATAS” is not a program used to

   access work desktops remotely, but is instead an adjudication platform that has been

   implemented in OATH offices since 2011, and has been in widespread use since 2016. See

   “ATAS Training PowerPoints’” appended hereto as City Exhibit “2”.

7. Deny knowledge information sufficient enough to form a belief about the truth of the

   allegations contained in Paragraph “7” of the Improper Practice Petition, and aver that the

   laptops were distributed to fulltime administrative staff, and that there has never been a past

   practice of reimbursing employees for equipment, paper, printers, ink, phone or other

   personal expenses.

8. Deny the allegations contained in Paragraph “8” of the Improper Practice Petition, and aver

   that has never been a policy of flexible working hours allowing HOPS to start as late as

   10:00 A.M.

9. Deny the allegations contained in Paragraph “9” of the Improper Practice Petition, and aver

   that any increase in workload since March 2020 is due to the increase in summons issued by

   City Agencies.




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10. Deny the allegations contained in Paragraph “10” of the Improper Practice Petition, and aver

   that the Agency permits HOPS to work on days they are not scheduled for hearings, so that

   they might write decisions, and pays for hours worked on those days.

11. Deny the allegations contained in Paragraph “11” of the Improper Practice Petition, and aver

   that HOPS are not being “returned” to work, but that HOPS who have already voluntarily

   submitted their available dates are scheduled on those dates more often than they previously

   had been, due to the increasing number of summonses issued since April 2020.

12. Deny the allegations contained in Paragraph “12” of the Improper Practice Petition.

13. Neither admit nor deny the allegations contained in Paragraph 13 of the Improper Practice

   Petition, and respectfully refer the Board to Petitioner’s Exhibit “B” as best evidence of its

   contents.

14. Neither admit nor deny the allegations contained in Paragraph 14 of the Improper Practice

   Petition, and respectfully refer the Board to Petitioner’s Exhibits “C” and “D” as best

   evidence of their contents.

15. Deny the allegations contained in Paragraph “15” of the Improper Practice Petition, and aver

   that the survey at issue was created by DCAS and sent to all City agencies to be distributed

   among all City employees.

16. Admit the allegations contained in Paragraph “16” of the Improper Practice Petition.

17. Neither admit nor deny the allegations contained in Paragraph “17” of the Improper Practice

   Petition, and respectfully refer the Board to Petitioner’s Exhibit “F” and “G” as best evidence

   of their contents.




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18. Neither admit nor deny the allegations contained in Paragraph “18” of the Improper Practice

      Petition, and respectfully refer the Board to Petitioner’s Exhibit “H” as best evidence of its

      contents.

19. Neither admit nor deny the allegations contained in Paragraph “19” of the Improper Practice

      Petition, and respectfully refer the Board to Petitioner’s Exhibit “I” as best evidence of its

      contents.

20. Admit the allegations contained in Paragraph “20” of the Improper Practice Petition.

21. Paragraphs 21 through 28 of the Improper Practice Petition contains a legal argument and as

      such does not require a response. To the extent that it is found to contain such factual

      allegations, Respondents deny those allegations.

                                           Preliminary Statement

           The Improper Practice Petition should be dismissed in its entirety. On March 13, 2020,

New York City Mayor Bill DeBlasio issued a state of emergency due to the rising number of

cases of the novel coronavirus, COVID-19 (COVID).1 OATH, under direction from the

Department of Mental Health and Hygiene (DOHMH) and the Department of Citywide

Administrative Services, took steps to eliminate COVID spread in the office, while continuing to

provide services to the New York City public at large. At the heart of this Improper Practice

Petition is OATH’s decision to close its offices and hold hearings remotely. OATH’s decision to

move to remote work, necessitating its HOPS to adjudicate cases from the safety of their home,

falls squarely within the City’s management right under the New York City Collative Bargaining

Law (NYCCBL) to “take all necessary actions to carry out its mission in emergencies” and to




1
    https://www1.nyc.gov/office-of-the-mayor/news/138-20/mayor-de-blasio-issues-state-emergency

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“determine the method, means and personnel by which governmental operations are to be

conducted.”2

         The Union in its Improper Practice Petition charges that the City changed existing terms

and conditions of employment in violation of §§ 12-306(a)(1) and (5) of the NYCCBL. The bulk

of these charges concern alleged changes to the Agency’s scheduling of HOPS; changes to their

hours worked; and changes to the technology they are required to use. The Improper Practice

Petition is rife with mischaracterizations about the past practices of the Agency and distortions

about changes in current practice. To establish that a unilateral change to a term and condition of

employment has occurred, the Union “must demonstrate that (i) the matter sought to be

negotiated is, in fact, a mandatory subject and (ii) the existence of such a change from existing

policy.” DC 37, L. 436, 4 OCB2d 31, at 13 (BCB 2011). The Petitioner alleges that the Agency

has changed the formula for scheduling HOPS, the schedule submission process, HOPS hours,

and the computer platform used to adjudicate summonses. None of these alleged changes have

occurred. The Agency has, to the greatest extent practical, tried to make the terms and conditions

of employees working at home mirror the terms and conditions of the OATH offices, while

maintaining the efficiency of governmental operations.

         To the extent the Union’s description of the actions taken by OATH were accurate, those

actions constitute permissible exercises of OATH’s statutory management right. Specifically,

NYCBBL § 12-307(b) grants the City the authority to “exercise complete control and discretion

over its organization and the technology of performing its work.” Similarly, the Board of

Collective Bargaining (BCB) makes clear that the City “has the right to assign or reassign its

employees, to determine what duties employees will perform during working hours and to



2
    NYCCBL § 12-307(b)
                                                 5

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allocate duties among its employees, unless the parties themselves limited that right in their

collective bargaining agreement.” UFA, 77 OCB 39, at 14 (BCB 2006). Here, the parties have

not limited these rights in the collective bargaining agreement between the UFT and the City.

          The Union has also included in its Petition charges against OATH and the City for direct

dealing and for failing to furnish information to the Union. Both charges are rife with

mischaracterizations and outright falsehoods. Petitioner alleges that by disseminating a survey in

May 2020, OATH has subverted its members’ representational and organizational rights and

therefore engaged in unlawful direct dealing in violation of NYCCBL § 12-306(a)(1) and (4).

This survey in fact was disseminated by DCAS and in no way subverts members’ rights or the

Union’s ability to represent its members. Petitioner’s claim of direct dealing is based on a

misunderstanding of the survey’s origin, its contents, and the intention behind its dissemination.

An archived version of the survey is appended hereto as City’s Exhibit “5”. This charge of direct

dealing must be dismissed as the city-wide anonymous survey, which does nothing to promise a

benefit or threaten a reprisal, on its face does not subvert UFT’s representation of its members.

          Also at issue is an August 18th information request. Some of the information has been

provided, either at a July Labor-Management meeting or with the instant Answer. The majority

of the information requested in the August 18th information request does not involve subjects of

mandatory bargaining. The information requested is not information that would aid the Union in

collective bargaining or in the grievance procedure. Accordingly, the allegation that the City has

violated NYCCBL § 12-306(c)(4) must be dismissed as the Petitioner has failed to state a prima

facie case that the City was obligated to furnish the information requested in its August 18th

letter.




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                                              Statement of Facts

22. Respondent City of New York (“City”) is a municipal corporation organized under the laws

      of the State of New York. Bill de Blasio is the Mayor of the City.

23. The City, pursuant to the Administrative Code of the City of New York, is defined as “a

      body politic and corporate in fact and in law with power to contract and to be contracted

      with, to sue and be sued, to have a common seal and to have perpetual succession.” N.Y. City

      Admin. Code § 2-101.

24. Respondent, Office of Administrative Trials and Hearings (“OATH” or “Agency”), is a

      public employer, having its offices at 100 Church Street, 12th Floor, New York, NY 10007.

25. OATH has five offices, one in each borough. All offices are closed due to the COVID-19

      pandemic. 3

26. The Office of Administrative Trials and Hearings is the City’s central, independent

      administrative law court. OATH has two divisions that are responsible for adjudicating City

      matters: the OATH Trials Division and the OATH Hearings Division.

27. The OATH Trials Division adjudicates a wide range of issues that can be referred by any

      City agency, board or commission. Its caseload includes employee discipline and disability

      hearings for civil servants, Conflicts of Interest Board cases, proceedings related to the

      retention of seized vehicles by the police, City-issued license and regulatory enforcement,

      real estate, zoning and loft law violations, City contract disputes and human rights violations

      under the City Human Rights Law. OATH Trials are conducted by Administrative Law

      Judges (ALJs) who are appointed to five-year terms.




3
    https://www1.nyc.gov/site/oath/hearings/hearing-in-person.page.

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28. In the OATH Hearings Division, hearings are conducted on summonses issued by 25

   different City enforcement agencies for alleged violations of law or City rules. These

   summonses are issued by the Departments of Buildings, Sanitation, Environmental

   Protection, Consumer and Worker Protection, Health and Mental Hygiene, and the Taxi and

   Limousine Commission, among others. OATH also has jurisdiction to hold hearings on

   summonses from certain non-City entities such as the Port Authority of New York and New

   Jersey. OATH hearings are conducted by Hearing Officers Per Session (HOPS).

29. Prior to the onset of the COVID-19 pandemic, the OATH Hearings Divisions regularly held

   up to 1,000 hearings per day.

30. HOPS are paid on an hourly basis. HOPS can work no more than 1,000 hours per year and

   can work no more than 17 hours per week. See “Job Specification” appended hereto as City

   Exhibit “1”.

31. HOPS have the discretion to choose to work no hours in a given day or week; they are not

   required to work any specific day or week.

32. Around the 15th of each month, a Division Manager at the Agency will email HOPS

   requesting they provide their availability for the upcoming month. When HOPS can promptly

   provide their availability, the Division Manager schedules them for days in the coming

   month. HOPS are usually notified of their schedule for the upcoming month by the 25th of

   the present month. This practice has continued while HOPS are working from home.

33. OATH schedules its hearings for HOPS based on its workload, i.e. based on how many

   summonses are issued by issuing agencies.

34. HOPS are scheduled to work a seven-hour workday. OATH offices open to the public at 8:00

   a.m. and hearings start soon thereafter.



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35. The shift to remote work has not changed the hours HOPS are expected to work.

36. There is no policy of allowing employees to show up as late as 10:00 a.m. It was not

   uncommon for a childcare issue or a subway problem to delay employees’ arrivals by a few

   minutes, and the Agency is understanding. But there is no policy, written or otherwise, that

   permits HOPS to regularly miss the first 60–90 minutes of scheduled hearings. Such a policy

   would wreak havoc on the Agency’s daily operations.

37. Hearings can last anywhere from twenty minutes to several hours. HOPS write decisions in

   between cases or after the last case is heard.

38. When in the office, Managers assign cases by observing which HOPS are currently free.

   They hand case files to HOPS who are not in a hearing and not on a break. Naturally, if a

   Hearing Officer is in the bathroom, the hallway, grabbing coffee or stepping away from the

   desk for any number of reasons, the Manager does not see the Hearing Officer, and

   accordingly does not assign him or her a case.

39. Managers generally attempt to equitably assign cases to the Hearing Officer who has been

   free for the longest time, in an attempt to avoid the assignment of cases back-to-back with no

   opportunity to write a decision in between.

40. While in the office, HOPS use one of three adjudication systems to log, submit, and store

   their work. One of these is the Administrative Tribunal Automated System or “ATAS”.

   ATAS has been used for Health cases since 2011 and for DCA cases since 2016 when the

   OATH Hearings Division was created. When the OATH Hearings Division was created, all

   HOPS were expected to adjudicate cases in ATAS.

41. In 2016, at the direction of the then Commissioner, all HOPS were expected to begin

   adjudicating cases in ATAS and explanatory PowerPoints were developed and made



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   available to them for this purpose. . See “ATAS Training PowerPoints” appended hereto as

   City Exhibit “2”.

   Agency Operations Since the Outset of the COVID-19 Pandemic

42. In early March 2020, as coronavirus cases in New York City began to spike, OATH began to

   implement safety measures to prevent the spread of COVID in the office. These included

   frequent cleaning of high touch point areas, prohibiting use of DCDs to log in, procuring and

   distributing hand sanitizer and disinfectant wipes to staff, disinfecting areas used by persons

   identified as having COVID symptoms, and changing HVAC filters.

43. Eventually, on March 23, 2020 OATH decided to close its offices to the public, and cease

   holding in-person hearings.

44. Because of the need to continue providing services to the public, OATH decided it would be

   feasible to resume hearings over the telephone, using the platform “Court Call.”

45. Around this time, the Agency IT Department assessed the several adjudication platforms

   used by OATH, and determined that ATAS was the platform best suited to be used by HOPS

   working from home.

46. Hearings are conducted telephonically, and HOPS concurrently track, log and submit their

   cases on ATAS in the same manner as they did in the office.

47. Cases are assigned in the largely same manner as well. HOPS email their managers to let

   them know they are signing into work for the day. Managers see when HOPS sign onto Court

   Call in the morning, and assign cases based on who is marked as online.

48. However, if a HOPS is marked as online, a Manager is unable to ascertain if they have

   stepped away from the computer and will still assign that Hearing Officer a case. That means




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   practically that a Manager will direct a waiting phone call from a respondent to the Hearing

   Officer, and the respondent will be left waiting for the Hearing Officer to pick up the phone.

49. Because respondents were being left on hold, Managers requested that HOPS notify them

   when they were stepping away from the computer. HOPS do not need the consent of the

   Managers to take a break, this is wholly done to alert the Manager that the HOPS is not

   available at that moment to take a call.

50. Similarly, Managers ask HOPS to notify them when they log on for the day and 10 minutes

   before they leave for the day. Managers cannot walk around the office and observe which

   HOPS are running late or which HOPS are leaving early and thus cannot receive cases. Such

   a notification system is the only way to ensure that respondents, the members of the public

   served by OATH, are not waiting for an extended period of time.

51. In the early stages of remote work, there were very few summonses to adjudicate because all

   cases already scheduled were automatically rescheduled to a future date to enable OATH to

   adjust its processes and communicate to parties how the adjudications were to proceed

   telephonically. Moreover, most of the enforcement agencies were not issuing summonses.

52. As these issuing agencies resumed operations, the number of summonses increased, and

   accordingly the workload of OATH HOPS increased.

53. The process for HOPS submitting their schedules has not changed since the pandemic.

   Around the 15th of each month, a Division Manager at the Agency will email HOPS

   requesting they provide their availability for the upcoming month. HOPS are usually notified

   of their schedule for the upcoming month by the 25th of the present month.

54. The hours HOPS are required to work have not changed since the pandemic.




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55. Managers still try to adhere to their policy of assigning the newest call to the Hearing Officer

   who has been available the longest, so no HOPS gets scheduled back-to-back hearings and

   they have time to write decisions in between.

56. As of right now, there are no concrete plans to re-open OATH offices for full service.


                                              ARGUMENT

                                      AS FOR A FIRST DEFENSE

          Petitioners have failed to allege facts sufficient to support an Improper Practice
        claim, as OATH properly exercised its management prerogative and did not fail to
                         negotiate over a mandatory subject of bargaining.

57. Petitioner’s claim that OATH and the City violated NYCCBL §§ 12-306(a)(1) and (a)(4)

   must fail because OATH has not made a unilateral change to a term or condition of

   employment, as Respondents are not required to bargain with the Union regarding subjects

   within their statutory management rights under NYCCBL § 12-307(b).

58. Specifically, NYCCBL § 12-307(b) states:

                   It is the right of the city, or any other public employer, acting
                  through its agencies, to determine the standards of services to be
                  offered by its agencies; determine the standards of selection for
                  employment; direct its employees; take disciplinary action; relieve
                  its employees from duty because of lack of work or for other
                  legitimate reasons; maintain the efficiency of governmental
                  operations; determine the methods, means and personnel by which
                  government operations are to be conducted; determine the content
                  of job classifications; take all necessary actions to carry out its
                  mission in emergencies; and exercise complete control and
                  discretion over its organization and the technology of performing
                  its work. Emphasis added.




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    1) OATH Did Not Make a Unilateral Change to a Term and Condition of Employment
       When it Shifted Its Operations to Remote Work

59. OATH’s decision to close its offices and shift HOPS to work remotely from their homes is a

    non-mandatory subject of bargaining and does not violate the duty to bargain under

    NYCCBL § 12-306(a)(4).

60. NYCCBL § 12-307(b) grants the City the authority to “take all necessary actions to carry out

    its mission in emergencies” as well as “determine the methods, means, and personnel by

    which government operations are to be conducted.”

61. BCB precedent also confirms that the City’s direction of its workforce during emergencies is

    a permissible exercise of the management rights granted by the NYCCBL. In DC 37, 6

    OCB2d 14 (BCB 2013) the Board addressed a wide-ranging Personnel Services Bulletin that

    adopted a new time and leave policy during specific weather emergencies. The Bulletin

    included the relevant language “[E]mployees may be directed to report to authorized

    alternative work sites or to work staggered or flexible schedules.” Id. At 21. The Board held

    that this language instituting alternative work locations and including flexible and staggered

    hours in a City-wide emergency were managerial prerogatives, and as such did not have to be

    bargained over. See also, Manhattan and Bronx Transit Operating Authority, 40 PERB ¶

    3023 (2007) (“where an employer assigns an employee to perform his or her work duties is

    a nonmandatory subject of bargaining”).

62. By March 23rd, it became clear to the Agency that continuing to hold in-person hearings in

    the small, windowless hearing rooms4 was infeasible and it put both employees and




4
 For a view of the Hearing Room with Respondents and HOPS face-to-face, See “The Judge will Hear your 223,
000 Excuses Now” New York Times (March 16, 2018). https://www.nytimes.com/2018/03/16/nyregion/the-judge-
will-hear-your-excuses-now.html

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   respondents at serious risk. Like many other City agencies, including the Office of Labor

   Relations and the Office of Collective Bargaining, OATH transitioned to a remote operation.

63. The Mayor directed that all non-essential services be performed remotely, and OATH

   followed suit.

64. OATH has an obligation to the public and to other City Agencies to adjudicate summons

   issued by those Agencies. To ensure that summonses continued to be adjudicated, OATH set

   up a remote work system where respondents would call in via Court Call. Under that system,

   managers assigned those calls to HOPS, and HOPS conducted hearings and entered the

   decision and all other necessary information into ATAS.

65. Because OATH’s decision to have its personnel, including HOPS, work from home is so

   clearly within the Agency’s prerogative to determine the method, means and personnel by

   which its operations are conducted, it is a non-mandatory subject that the Agency is under no

   obligation to bargain over.

66. Similarly, OATH has no obligation to bargain over its selection of ATAS, a system in

   widespread use at the Agency since at least 2016 as the adjudication platform to be used

   uniformly by HOPS while they are working remotely from home.

67. The Board has repeatedly stated that "decisions regarding the selection or use of equipment

   involve the City's discretion over the methods, means and technology of performing its work,

   and [] to the extent a union's demands usurp that discretion, they infringe on the exercise of

   managerial prerogative and are rendered non-mandatory." LEEBA, 3 OCB2d 29, at 43-44

   (BCB 2010) (citing UFA, 61 OCB 6, at 7 (BCB 1998).

68. Similarly, PERB has long held that “it is within an employer’s discretion to determine the

   equipment it needs to carry out its mission of providing services to the public.” County of



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   Nassau, 41 PERB ¶ 4552 (2008) (Maier, ALJ) (The utilization of GPS technology was a

   management prerogative because it related to the “manner and means by which an employer

   is providing services to the public).

69. OATH’s selection of one software program among several already used in the office is

   within its “discretion over the methods, means, and technology of performing its work”

   under NYCCBL § 12-307(b).

70. Similarly, OATH’s decision to distribute Agency laptops to full-time administrative staff,

   and not HOPS, is clearly within the same granted discretion. The agency’s resources are not

   limited and the decision of which available equipment to assign to which employees is a

   clear management prerogative.

71. Further, OATH’s decision not to reimburse HOPS for printing costs or other incidental costs

   of working from home does not give rise to a violation of NYCCBL §§ 12-306(a)(1) or

   (a)(4). HOPS are not required to print documents or case files. It is a personal preference to

   print a document at home rather than view it on a computer screen. None of these incidental

   effects of the shift to remote work implicate mandatory subjects of bargaining and as such

   should be dismissed.




    2) OATH Alleged Changes to HOPS Schedules are Nonmandatory Subjects of
    Bargaining and as Such, do not Need to be Bargained Over.
72. It is well-settled by the Board that management’s decisions regarding scheduling and levels

   of staffing are not mandatory subjects of bargaining because they fall within an employer’s

   statutory management right.

73. The alleged charges referenced in Paragraphs 4–10 of the Improper Practice Petition relate to

   the manner in which HOPS were scheduled during the various months of the pandemic. This

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       scheduling, along with the number of hours HOPS are required to work, are decisions that

       are unilaterally made at the discretion the City as it is directly related to staffing and

       scheduling decisions.

74. When reviewing union challenges to employer staffing decisions, the Board has consistently

       and unequivocally held that the employer “has the right to assign or reassign its employees,

       to determine what duties employees will perform during working hours and to allocate duties

       among its employees, unless the parties themselves limited that right in their collective

       bargaining agreement.” See UFA, 77 OCB 39, at 14 (BCB 2006) (emphasis added), citing

       UFA, 73 OCB 2, at 6 (BCB 2004); NYSNA, 71 OCB 23, at 11 (BCB 2003).

75. Here, the Parties have not limited themselves by Agreement. As such, the Agency has the

       absolute right to assign or reassign HOPs; determine the duties that will be performed during

       working hours; and assign duties amongst HOPS at its discretion.

76. Petitioner in the instant case alleges that between March 23, 2020 and May 23, 2020 “[o]nly

       33 HOPS were scheduled out of a roster of 350.” While the City asserts that this is untrue,5 it

       should be noted that the number of HOPS who mark themselves available for scheduling,

       that OATH eventually scheduled for hearings, is a matter of management prerogative.

77. Petitioner also alleges a violation of the NYCCBL for an increase in caseloads and the

       number of cases assigned to each HOPS. As explained above, OATH experienced a decrease

       in summonses at the beginning of the pandemic. As a result, HOPS were assigned fewer

       cases. As the number of summonses began to increase, so did the cases assigned to the

       available HOPS. The City is not obligated to bargain over work that does not yet exist due to

       a low number of summonses. The amount of work assigned to HOPS is directly related to



5
    See infra ¶4

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   the number of summonses it receives. Throughout the instant Petition, Petitioner is in search

   of some nefarious Agency plot to conceal a trove of summonses. Such a premise is just

   unmoored from the reality of this pandemic and how in March and April 2020 it forced

   Agencies to cease issuing summonses.

78. It is clear that OATH’s decision to schedule a specific number of HOPS to adjudicate a

   corresponding number of cases is an employer staffing decision and as such is a

   nonmandatory subject of bargaining.

79. Similar to the discretion the City is allowed in staffing decisions, the Board allows the City

   broad discretion in scheduling. The Board has held that “[m]andatory subjects of bargaining

   generally include . . . hours.” Id.; LEEBA, 3 OCB2d 29, at 5 (BCB 2010). However, other

   areas, such as scheduling, fall within the managerial prerogative and are not subject to

   mandatory collective bargaining. Id, at 33; Fire Alarm Dispatchers Benev. Assn., 55 OCB 1,

   at 11 (BCB 1995). Thus, “while the City unilaterally may determine staffing levels and

   certain aspects of schedules, such as starting and finishing times, it must bargain over the

   total number of hours employees work per day or per week.” UFOA, 1 OCB2d 17, at 10

   (BCB 2008); see also PBA, 15 OCB 23, at 16-17.

80. Here, however, Petitioner has not alleged with specificity that HOPS hours have changed

   unilaterally due to the pandemic.

81. When Agency offices were open prior to 2020, hearings started at 8:00 A.M but respondents

   trickled into the office slowly. Due to the elimination of commute time for both employees

   and respondents, and to in-person queuing time by respondents in OATH offices, more

   respondents are “on call” at 8:00 A.M. However, this reality does not support a claim that

   OATH has unilaterally changed HOPS hours.



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82. This issue has come before the Board before in UFT, 3 OCB2d 44 (BCB 2010). There, the

   UFT claimed that OATH imposed unilateral changes that affected HOPS hours in two ways:

   1) OATH eliminated evening and early morning hours (in order for HOPS hours to better

   match their supervisors) effectively limiting the HOPS to working certain hours of the day,

   and 2) requiring HOPS to work in at least five-hour time blocks and at least two days in a

   week in which they choose to work. The Board held that the first was a matter of scheduling

   and not a mandatory subject of bargaining. However, it ruled that the second was not a

   matter of scheduling, making it a mandatory subject of bargaining. Id. at 9 (BCB 2010).

83. The facts that give rise to this Petition mirror the first requirement in UFT, 3 OCB2d 44

   (BCB 2010). To the extent there is any change in HOPS’ schedules, it is that the start time

   was strictly enforced. The few reasons (e.g. transit delays) in which specific individuals were

   granted leeway by managers to arrive after hearings started was no longer germane when

   employees were no longer commuting. In other words that cushion of several minutes

   granted due to a transportation delay was eliminated, and eliminated to ensure that

   respondents were not waiting on Court Call.

84. Petitioner also alleges that the Agency has scheduled HOPS for back-to-back hearings and

   “unilaterally implemented a limitation on the hours when HOPS are allowed to write

   decisions. They cannot write decisions on scheduled days, weekends or holidays. This has

   increased the number of hours which HOPS are required to work beyond their scheduled

   days. In other communications, the HOPS are required to write up all decisions on the day of

   the hearings which also requires additional time outside the scheduled working hours”

   Petitioner’s Improper Practice Petition at ¶9, ¶10.




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85. These claims are outright falsehoods. Petitioner has adduced no evidence to back up these

   claims. To the contrary, Agency Managers allow HOPS to request, and (if the request is

   approved) be paid for, days that are solely devoted to writing decisions that were not

   completed immediately after the case concluded.

86. To the extent any of these claims are accurate, they do not implicate any mandatory subject

   that must be bargained over as this implicates the City’s right “to assign or reassign its

   employees, to determine what duties employees will perform during working hours and to

   allocate duties among its employees, unless the parties themselves limited that right in their

   collective bargaining agreement.” UFA, 77 OCB 39, at 14 (BCB 2006).

87. To the extent that the any of the Union’s claims of alleged changes are accurate, the actions

   taken by OATH were staffing and scheduling decisions that did not affect hours worked, and

   as such are not mandatory subjects of bargaining.

    (3) OATH Did Not Make a Unilateral Change to a Term and Condition of
    Employment When it Required HOPS Employees to use an Adjudication Software
    That Had Been Used Since 2016 Without Providing Any New Training for It in 2020.
88. Petitioner alleges OATH is required to bargain over the amount, if any, of training necessary

   to utilize ATAS when working from home.

89. However, the Board has previously held that “the City has the management right to

   determine the quantity and quality of the services to be delivered to the public, and, therefore,

   also the quantity and quality of the training required to achieve that service.” See CWA, 9

   OCB 7 at 6 (BCB 1972). However, the Board has recognized that an exception to this

   general principle exists when the training is required by the employer as a qualification for

   continued employment or for improvement in pay or work assignments or when the union

   demonstrates that there exists a practice and tradition of the employer’s encouraging and

   supporting employee participation in such training or education. See UFA, 37 OCB 43 at 15

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   (BCB 1986). In NYSNA, 11 OCB 2 (BCB 1973), the Board found a demand to refund tuition

   to nurses taking approved education courses was a mandatory subject of bargaining because

   the matter concerned an improvement in the nurse’s pay. The employer conceded that it

   granted nurses pay differentials based upon the completion of studies above the minimum

   requirement level.

90. The case cited by the Petitioner in ¶11 is wholly inapposite to the instant matter. There, the

   FDNY previously hosted a 16-day training course to prepare EMT for an exam. In 2001, they

   unilaterally reduced that course to 5 days. The Board determined that since passing the exam

   was a requirement for a title promotion, that reduction was a unilateral change to a

   mandatory subject.

91. Gaining familiarity with the ATAS program, which has been in use in the Agency since 2011

   and expanded to all HOPS desktops in 2016, cannot be evaluated on a pass/fail basis. It is a

   computer program more akin to others such as Microsoft Office or Zoom than it is to a test

   an employee must pass, or is graded on. The more it is used, the more comfortable and

   proficient one becomes at it. ATAS is a learning process, as many adjustments to remote

   work are, but one cannot “fail” at ATAS.

92. More importantly, using ATAS is not a requirement for a promotion to a higher title or to

   receive a pay differential.

93. The only way a HOPS would be totally unfamiliar with ATAS prior to March 2020, would

   be if they regularly and purposely refused the assignment of DOHMH and DCA summonses.

   Additionally, ATAS is not dissimilar from other adjudication platforms previously used by

   OATH.




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94. Moreover, OATH did offer training on ATAS when it became widely implemented in 2016,

   and distributed detailed PowerPoints describing its use. See City’s Exhibit ”2”.

95. To the extent that knowledge of ATAS is a requirement to HOPS receiving work, that is true

   in the very literal sense. As is knowing how to turn on a computer or knowing how to check

   one’s emails is a requirement to receiving work. But Petitioner is conflating ATAS with

   more arduous tests and certifications that City employees, including legal professionals like

   HOPS, must pass or attain.

96. Again, the City has the broad management right to determine which technology its

   employees use. OATH and its IT department determined that ATAS was the platform best

   suited to function in tandem with Court Call. As ATAS already was in use and any HOPS

   who handled even just one DCA or DOHMH summons would be familiar with it, OATH

   made the justified decision to shift all its adjudications to ATAS.

97. Continued employment is not contingent on an employee’s skill at using ATAS, nor is any

   promotion or pay raise. As such training in the use of ATAS is not a mandatory subject, and

   OATH was under no obligation to bargain over the decision to shift all adjudications to

   ATAS without extra training.

98. Lastly, the Petitioner alleges that “OATH has unilaterally instituted a policy of not paying for

   mandatory CLE if the HOPS are not scheduled to work contrary to the agreement.” See

   Improper Practice Petition ¶11.

99. CLE is mandatory for attorneys who hope to retain their licenses. Normally, attorneys are

   charged for CLE classes. However, OATH, like a number of other legal employers, provide

   these classes at no charge. It has never, however, in addition to offering free classes, also pay

   attorneys to them. It did not do that in the past, does not do that now and has no plans to do in



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     the future. There are CLE credits that HOPS receive for attending mandatory courses offered

     by OATH. These are and have always been paid for by OATH. OATH has never paid for

     HOPS to attain CLE credits, technically mandatory for HOPS in order to keep their license,

     that are offered outside of OATH. Without any evidence in support of this allegation, this

     charge of non-payment should be dismissed.

                                 AS FOR A SECOND DEFENSE

           To the extent that Petitioner’s Improper Practice claim relates to practical
                    impact, such claim is premature and must be dismissed.



100. Bargaining over the impact of an exercise of managerial prerogative does not become

    mandatory until the Board declares that an impact exists, and the public employer fails to

    correct or minimize the impact.

101. The Union’s Petition confuses two different legal processes, an Improper Practice Petition

    Pursuant to NYCCBL §12-306 and a Scope of Bargaining Petition alleging practical impact

    pursuant to NYYCBL §12-307.

102. Nevertheless, Petitioners allege that “The Employer has further failed and refused to bargain

    with the union over mandatory subjects of bargaining regarding health and safety issues

    associated with reconstitution of the workforce including but not limited to issues regarding

    regular disinfection, staggered work hours and continued remote work, issues regarding leave

    or accommodations, screening processes, impact of potential closures due to infection and

    other issues relating to safe return to the workplace in violation of §§ 12-306(1) and (4) of the

    NYCCBL.” See Petitioner’s Improper Practice Petition at ¶ 25.

103. This Board has clearly defined the process through which a petitioner should assert a claim of

    practical impact. In SBA, 41 OCB 56 (BCB 1988), the Board stated that a “practical impact


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   claim should be initiated by a scope of bargaining petition in which specific allegations of

   impact are set forth.” This procedure is necessary because the Board must first make a factual

   determination that a practical impact actually exists, and then determine whether there are any

   “bargainable issues arising from the impact.” Id., at 15-16. The Board has specifically noted

   that “any future attempt to litigate issues of practical impact should conform to the

   requirements established and repeatedly recited in the decisions of this Board.” See, L.300,

   SEIU, 45 OCB 36, at 13 (BCB 1990); See also CWA, 29 OCB 37 (BCB 1982), COBA, 27

   OCB 16 (BCB 1981); L.375, Civil Service Tech. Guild, 25 OCB 41 (BCB 1980); UFA & L.

   854, UFOA, 1 OCB 9 (BCB 1968).

104. At the present time, there has been no determination from this Board that a practical impact

    on safety exists. Thus, the proper channel for Petitioner to bring forth a claimed practical

    impact is a Scope of Bargaining Petition. Only after the Board has determined that there is a

    practical impact resulting in bargainable issues, and the employer then refuses to bargain,

    may an Improper Practice charge be made.

105. A pre-condition of a hearing on a practical impact claim is “the presentation by a petitioner

    of sufficiently specific factual details, not merely unsupported allegations.” UFA, 71 OCB 19

    at 7 (2003) (citing UPOA, 39 OCB 37 (BCB 1987)); IOUE, 51 OCB 25 (BCB 1993) (“[The

    Board] will not declare that a practical impact exists, nor direct a hearing to consider the

    matter, solely on the basis of conclusory or speculative allegations.”)).

106. Petitioner’s instant claim of a practical impact of the on terms of conditions of employment is

    vague and speculative. This is mainly because there are no current plans to reconstitute the

    workforce or to re-open OATH offices. The guidance OATH has received from DOHMH

    and DCAS on COVID and on corresponding safety measures to be taken has changed based



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    on how much the City’s and the public’s understanding of the pandemic have changed. There

    is no current set date for when OATH will re-open its offices, and as such any claim that

    there is a set policy, of which its impact must be bargained over, is far too speculative at this

    point.

107. It is unclear from the Improper Practice Petition whether Petitioner is alleging only that the

    practical impact of the eventual re-opening of offices must be bargained over, or that the

    initial shift to remote work is a managerial action with an impact on employee safety or

    workload, and that too must be bargained over. To the extent to which Petitioner is alleging

    the latter, those claims are also too speculative and vague to support a claim of practical

    impact.

108. Factors considered in determining whether a practical impact on safety exists include

    whether the employer has adopted measures that offset any potential threat to safety and

    whether the employees’ adherence to management procedures and guidelines would obviate

    any safety concerns. UFA, 7 OCB 4 (BCB 2014). The Union has the burden to demonstrate

    that a practical impact on safety exists by demonstrating that the exercise of a management

    right has created a “clear and present or future threat to employee safety.” Id. at 9 (quoting

    UPOA, 39 OCB 37, at 5-6 (BCB 1987).

109. A practical impact on workload is established if the Union can provide specific details

    showing that management’s action has resulted in “an unreasonable excessive or unduly

    burdensome workload as a regular condition of employment.” ADW, 69 OCB 16 (BCB 2002)

    (quoting LBA & SBA, 51 OCB 45, (BCB 1993); aff’d, Toal v. MacDonald, 216 A.D.2d 8,

    627 N.Y.S.2d 372 (1st Dept. 1995). Whether arguing an increase in workload or the




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    requirement to preform new, additional, and expanded duties, the Union must show a

    sufficient level to impact workload.

110. A petitioner does not demonstrate a practical impact by enumerating additional duties

    assigned to employees or by noting a new assignment of duties covered in the job

    specifications. Additionally, an assertion that, for example, employees are required to work

    more time than scheduled must include specific details, not bare surmise of increased

    workload. NYSNA, 71 OCB 23 at 13 (BCB 2003).

111. Petitioner has alleged no facts indicating a clear and present danger exists in closing OATH

    offices and shifting to remote work. Petitioner does however allege an increase in number of

    cases HOPS must hear. Such an increase, if it does exist, is not so unreasonably excessive or

    unduly burdensome to impact workload.

112. Petitioner’s main claims about an increase in workload appear to really reflect an increase in

    workload relative to the workload in March and April 2020. In the early stages of remote

    work, there were very few summonses to adjudicate because, all cases already scheduled

    were automatically rescheduled to a future date to enable OATH to adjust its processes and

    communicate to parties how the adjudications were to proceed telephonically. Moreover,

    most of the enforcement agencies were not issuing summonses.

113. As these agencies began to resume their operations throughout the late spring and summer of

    2020, the number of summonses that needed to be responded to at OATH increased. It

    follows that HOPS who had been consistently informing OATH that they were available to

    receive cases throughout the spring and summer, would have received more cases on those

    dates in the summer.




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114. Petitioner has not at this point alleged with specificity any practical impact that OATH’s

    actions have had on workload or safety, and as such any claim of impact is premature and

    must be dismissed.



                                   AS FOR A THIRD DEFENSE

      Petitioner has failed to allege facts sufficient to support an Improper Practice Claim
       that the Agency engaged in unlawful direct dealing in violation of NYCCBL § 12-
                                          306(a)(1) and (4).


115. Petitioner alleges that by disseminating a survey in May 2020, OATH has subverted its

    members’ representational and organizational rights and as well as its representation of its

    members and therefore engaged in unlawful direct dealing in violation of NYCCBL § 12-

    306(a)(1) and (4).

116. This Board has adopted a direct dealing standard similar to the one employed by the National

    Labor Relations Board (“NLRB”). In doing so, the conduct of an employer will be examined

    on a case by case, totality of conduct basis, employing criteria of Section 8(c) of the National

    Labor Relations Act (“NLRA”) to establish if there is a direct dealing violation. UFA, 69

    OCB 5 (BCB 2002) (Board found that the City’s response of publicizing the Union’s

    rejection of a proposed schedule in employee newsletter constituted direct dealing).

117. The Board has defined direct dealing as an employer’s direct communications with union

    members that “bypass[es] a certified bargaining representative and negotiate[es] directly with

    members.” UFT, 4 OCB2d 4, at 22 (BCB 2011); DC 37, 5 OCB2d 1, at 15 (BCB 2012) (“An

    employer engages in direct dealing when an employer “in its communications with

    employees, obtains or endeavors to obtain the employees’ agreement to some matter

    affecting a term or condition of employment, whether by making either ‘a threat of reprisal or

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    promise of benefit,’ or ‘otherwise subvert[ing] the members’ organizational and

    representational rights.’”).

118. This Board enunciated its standard for determining whether a challenged action constitutes

    direct dealing:

              Direct dealing in violation of §12-306(a)(1) and (a)(4) is
              characterized by actions that attempt to mislead employees or to
              persuade them to believe that they will best achieve their
              objectives directly through the employer rather than through the
              union; in other words, the employer, by what it says or does,
              attempts to establish a negotiating relationship with unit employees
              to the exclusion of the employees’ bargaining agent.


              PBA, 77 OCB 10 (BCB 2006), at 14, citing American Pine Lodge Nursing and

    Rehabilitation Center v. NLRB, 164 F.3d 867 (4th Cir. 1999); City of Buffalo, 30 PERB ¶

    3021 (1997).



119. Passing on factual information does not meet the direct dealing standard of union

    circumvention. Warren County Deputy Sheriff’s Unit v. County of Warren, 28 PERB ¶ 4624

    (1995).

120. The communications at issue in the instant Improper Practice Petition were not directly

    issued by the Agency. Instead, the survey at issue was created by DCAS and disseminated to

    all City agencies. The email was sent on May 29, 2020 by Rebecca Morales, Chief of Staff,

    Human Capital at DCAS. The email body states in relevant part:

                    “This email is being sent on behalf of Barbara Dannenberg,
                    Deputy Commissioner for Human Capital at the Department of
                    Citywide Administrative Services (DCAS).

                    As New York City plans its “reopening,” and private/public
                    service delivery is rolled out in phases, we are reaching out to the
                    City’s workforce to directly inform post-COVID-19 recovery

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                   work. COVID-19 has taken a devastating toll on New York City,
                   and there are 27 neighborhoods specifically that were most
                   severely impacted. As the City seeks to recover from this
                   pandemic, we appreciate your thoughts and feedback on ways in
                   which the City can support you as an employee, and support your
                   community.

                   Please share this information and survey with your agency's
                   employees using the survey link below. The link is accessible via
                   laptop, iPad or mobile phone, and will be available until 5 pm,
                   Friday, June 5th.”

                   See, City’s Exhibit “3”


121. The attached link was sent in a June 2nd bulletin to all employees email by Labor Relations

    Administrator Sharina DeRoberts with the following text:

             “Dear OATH Employees:

             The Department of Citywide Administrative Services (DCAS) has
             asked all City employees to fill out an anonymous survey relating
             to what you feel you need when we return back to work. Please fill
             it out and submit it to DCAS as soon as possible. The survey will
             close at 5PM on June 5th. The survey can be found here:
             http://sgiz.mobi/s3/COVID-19-Recovery-for-City-Employees.
             OATH will continue to keep you updated as our plan to reopen the
             agency’s offices develops. If you have any questions related to the
             reopening of the agency, you should send them to
             returntowork@oath.nyc.gov. In the coming weeks we will be
             updating the FAQ sheet we circulated with answers to any new
             questions we receive. Stay healthy and safe!”

             See, City’s Exhibit “4”

122. The attached link has expired, but an archived version of the included survey (“survey”) is

    attached as City’s Exhibit “5”.

123. The survey is anonymous and voluntary, and includes eleven questions, eight of which ask

    simple biographical information such as the gender, race, and zip code. The questions that

    would tend to elicit a more complex response are “What services do you believe are being



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    offered to communities, that are not being offered to yours?”; “What information can the

    City (as an employer) provide to make you feel safer upon your return to your

    office/worksite?”; and “What is the single most important thing you need right now as a City

    employee?” Id.

124. No question in this survey is specific to working at OATH, or specific to being represented

    by UFT or any union in general.

125. At no point is there a reference to union representation, to the collective bargaining process,

    or to the grievance procedure.

126. No benefit is promised to employees who fill out the survey. There is no threat of reprisal if

    an employee does not fill out the survey or fills it out in a manner somehow displeasing to

    DCAS. There is no promise of benefit or threat of reprisal contained within the survey’s

    questions.

127. Petitioner’s claim that the above emails, and the survey they contain, constitutes OATH or

    any City agency “mislead[ing] employees or persuad[ing] them to believe that they will best

    achieve their objectives directly through the employer rather than through the union” is

    patently absurd.

128. Additionally, on July 2, Allison Costanzo, Assistant General Counsel for the Union, emailed

    Olga Statz, General Counsel for OATH, stating “the Union appreciates the steps taken by

    OATH to solicit input from our members regarding safety protocols, remote hearings, and

    other re-opening procedures.” See “Costanzo Email” appended hereto as City’s Exhibit “6”.

129. If the Union truly believed the Agency was undermining its bargaining position by soliciting

    HOPS input via this survey, Ms. Costanzo would not have then thanked the Agency.




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130. As Petitioner fails to show that OATH violated §12-306(a)(1) and (a)(4) when it forwarded

    the survey created and sent to OATH by DCAS, this charge of direct dealing must be

    dismissed.




                                  AS FOR A FOURTH DEFENSE

     Petitioners have failed to allege facts sufficient to support an Improper Practice Claim
      that the Agency violated NYCCBL § 12-306(c) (4) in refusing to furnish information,
        because the information sought concerned non-mandatory subjects of bargaining.

131. Pursuant to NYCCBL § 12-306(c)(4), a public employer has a duty to furnish a union, at its

    request, “data normally maintained in the regular course of business, reasonably available

    and necessary for full and proper discussion, understanding and negotiation of subjects

    within the scope of collective bargaining.” The Board has held that this duty to provide

    information extends to information which is relevant to and reasonably necessary for

    purposes of collective negotiations or contract administration.” NYSNA, 3 OCB2d 36, at 13

    (quoting DC 37, L. 2507, 73 OCB 7, at 21 (BCB 2004)) (quotation marks omitted).

    Accordingly, “information relevant to and reasonably necessary for consideration of a

    potential grievance, or to determine if an improper practice occurred, fall within the ambit of

    contract administration, and such information must be produced upon request.” NYSNA, 4

    OCB2d 42, at 11–12 (BCB 2011).

132. However, “the duty to disclose such documentation does not attach when the party’s request

    involves a non-mandatory subject of bargaining or cannot be used in contract

    administration.” NYSNA, 3 OCB2d 36, at 13–14. Thus, the obligation to provide

    information “is not absolute and is circumscribed by the necessity for and relevancy of the



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    information sought and the reasonableness of the request, including the burden on the

    employer and the availability of the information elsewhere.” Id. (quoting County of Ulster,

    43 PERB ¶ 4502 (2010)) (quotation and editing marks omitted).

133. Much of the information requested in the August 18th information request does not involve

    subjects of mandatory bargaining. As discussed supra, information requests ¶1, ¶2 and ¶5 in

    the August 18th letter concern the Agency’s twin decisions to move to remote work and to

    eventually reconstitute its workforce when it is safe and feasible for OATH to reopen its

    offices. Specifically, the Union requests:

             “Documents relating to the safety measures and protocols which
             New York City and OATH are reviewing or intent to implement
             relating to the “reconstituting” of the workforce when OATH
             offices are reopened….. [and] all documentation referred by
             OATH in its correspondence dated April 13, 2020 regarding the
             “applicable safety measures recommended by DCAS and DOHMH
             for the reconstitution of a work force, such as regular disinfection,
             staggered work hours, and teleworking, and any subsequent
             documents received concerning same or providing details
             concerning such issues.”

             See Petitioner’s Exhibit “G”

134. The Agency duly responded to this letter on August 27th informing the Union that “much of

    the information presently sought by the Union was provided to it in the aftermath of the

    Labor Management meeting held between the parties on July 2, 2020.”

135. The Agency’s decision to reconstitute its workforce, when it does eventually happen, is fully

    within its right under NYCCBL § 12-307(b)to “determine the methods, means and personnel

    by which government operations are to be conducted….[and] take all necessary actions to

    carry out its mission in emergencies.”

136. Because the request for information concerns a non-mandatory subject of bargaining, OATH

    is under no duty to furnish such information.

                                                 31

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137. It should also be noted that in the early stages of the COVID-19 pandemic, information about

    infection risk, the effectiveness of mask-wearing, safety of public transportation, and the

    airborne qualities of the virus were changing rapidly. OATH was justified in relying in

    DOHMH’s scientific expertise at the time. Petitioner’s argument that its current collective

    bargaining abilities would be impeded if DOHMH guidance from 10 months ago was not

    furnished, given that the workforce has not been reconstituted and given that so much of

    what the public knows about the virus has changes in the last 10 months, is absurd.

138. Information requests ¶8, ¶9, ¶10 in the August 18th letter are demands that OATH furnish

    information on “how” it schedules its HOPS. OATH’s truthful response throughout this

    whole process, that they schedule based on Agency need and on the number of summonses

    issued by issuing Agencies, is apparently not sufficient to the Union. This request solely

    concerns matters of scheduling and staffing, which BCB precedent establishes are

    management prerogatives not subject to mandatory bargaining. See, supra ¶82–90.

139. The information sought in information requests ¶4, ¶6 ¶12 are attached to Respondent’s

    Answer as Exhibits “5” “2” “7”.

140. The allegation that the City has violated NYCCBL § 12-306(c)(4) must be dismissed as the

    Petitioner has failed to state a prima facie case that the City was obligated to furnish the

    information requested in its August 18th letter. As the majority of Petitioner’s request for

    information encompassed mandatory subject of bargaining, OATH was and is under no duty

    to furnish such information.




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WHEREFORE, Respondents respectfully request that an Order be entered dismissing the

Improper Practice Petition in its entirety and that the City of New York be granted such other and

further relief as the Board deems just and proper.

Dated:         New York, New York
               January 15, 2020
                                                     STEVEN H. BANKS
                                                     General Counsel
                                                     Attorney for Respondent
                                                     Office of Labor Relations of the
                                                     City of New York
                                                     22 Cortlandt St, 14th Floor
                                                     New York, New York 10007
                                                     (212) 306-7230



                                             By:     _________________________
                                                     John Supik
                                                     Assistant General Counsel




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                                         VERIFICATION

         JOHN SUPIK, an attorney admitted to practice before the Courts of the State of New York

affirms under penalty of perjury and pursuant to Rule 2106 of the Civil Practice Law and Rules,

that he has been duly designated as Assistant General Counsel of the Office of Labor Relations of

the City of New York and as such that he is an officer of the City of New York, Respondents in

this proceeding. That the foregoing Verified Answer is true based on his own knowledge the

source of which is set forth below except as to the matters therein stated to be alleged upon

information and belief, and as to those matters, he believes to be true. Respondents further say

that the reason why this verification is not made by the City of New York is that it is a corporation;

that the grounds of his knowledge are as follows: information obtained from the books and records

of the City of New York and other departments of the city government and from statements made

to him by certain officers or agents of the City of New York.


Dated:          January 15, 2021
                New York, New York




                                                      JOHN SUPIK




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                     CITY EXHIBIT 1




                                                 Hyman Reply Dec. Ex. C - 83
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NC ‐ X, PART I                                                         CODE NO. 95937
OFFICE OF ADMINISTRATIVE
TRIALS AND HEARINGS (820)


                      HEARING OFFICER (PER SESSION)


General Statement of Duties and Responsibilities

Under direction, with broad latitude for the exercise of individual initiative and judgment,
conducts hearings concerning allegations of misconduct or violation of the administrative
Code of The City of New York and the Rules and Regulations of various Authorities,
Agencies and Departments operating within The City of New York. Performs related
work.



Examples of Typical Tasks

Hears testimony and reads documentary evidence concerning alleged infractions of laws,
rules and regulations.

Ensures that an accurate record is made and retained on all hearings.

Examines witnesses and weighs credibility of testimony.

Critically examines supporting documents; secures necessary evidence by directing the
issuance of subpoenas.

Advises respondents of legal rights.

Weighs proof and determines whether allegations have been substantiated.

Analyzes personal and public facts necessary to determine appropriate penalty.




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NC ‐ X, PART I                                                        CODE NO. 95937
OFFICE OF ADMINISTRATIVE
TRIALS AND HEARINGS (820)

                 HEARING OFFICER (PER SESSION) (continued)

Examples of Typical Tasks (continued)

Files formal findings of fact and conclusions of law.

Reviews and evaluates technical proposals for compliance with environmental codes.
Reports trends in defenses, problems in proof, and suggests procedural improvements.



Qualification Requirements

1.      A license to practice law in the State of New York, which must be maintained; and

2.      Three years of recent satisfactory relevant legal experience subsequent to
        admission to the bar.



Lines of Promotion

None.                This class of positions is classified in the Non‐Competitive Class.



NOTE:          No incumbent shall work more than 17 hours per week in any two
               consecutive weeks, or more than 1,000 hours per year.




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                     CITY EXHIBIT 2




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                                                                   Administrative Tribunal Automated
                                                                             System (ATAS)
                                                              • Allows Petitioner to digitally file NOV with the
                                                                Hearings Division
                                                              • Records hearing audio digitally
                                                              • Automatically recalculates points to generate
                                                                a Letter Grade




    1/15/2021                                         1       1/15/2021                                                 2




1                                                         2



                     What’s In ATAS?                                              Home Page
    • All cases issued by the DOHMH and filed with            • Lists all relevant folders, including Today’s Hearing
      the Hearings Division.                                    Case Folder - these are the cases that are scheduled
    • NOV, Inspection Report & Scanned Documents                for hearings that day.
      (viewable as icons and links)                           • The Docket search field facilitates searches for
                                                                specific dockets
    • Case History
    • Case Documents/Case Notes
    • Violation History
    • License & Permit Information
    • Notice of Appearance
    • Decision Entry Screen
    • Scan/Upload                                     3       1/15/2021                                                 4




3                                                         4




                                                                          Today’s Hearing Case Folder
    • A case is in READY status when it is scheduled
      for a hearing, either today or for a future date.
    • When a Respondent or its representative
      appears on the scheduled hearing date and
      signs a Notice of Appearance at the Reception
      window, the case becomes ACTIVE and moves
      into Today’s Hearing Case Folder. That means
      the matter is ready to be adjudicated.

    1/15/2021                                         5       1/15/2021                                                 6




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                   Selecting Case Takes You to                                       NOV
                            NOV Page




     1/15/2021                                         7         1/15/2021                                 8




7                                                           8




                      Inspection Report                                      Accessing Case History




     1/15/2021                                         9         1/15/2021                                 10




9                                                           10




                                                                                 Case History




     • Contains a chronological list of a particular
       case’s procedural history
     • Has hyperlinks to documents/exhibits, case
       notes, audio recordings, grade cards
     • Any action that was taken with respect to the
       case will be found here
     1/15/2021                                         11        1/15/2021                                 12




11                                                          12



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                   Accessing NOA Screen                                      Notice of Appearance

                                                                • Clerk signs in respondents/representatives appearing
                                                                  at the Tribunal
                                                                • NOA screen is used to make cases active, settle
                                                                  cases, administrative adjournments and serving
                                                                  decisions
                                                                • Before you adjudicate the case you can see who
                                                                  signed it in and who will be appearing before you
                                                                  from the NOA page



     1/15/2021                                        13        1/15/2021                                                     14




13                                                         14




                                                                • We record all hearings, as required by our
                                                                  procedural rules.
                                                                • All recordings are captured digitally in ATAS
                                                                  and is part of the record.
                                                                • You may listen to the hearing from your
                                                                  computer at any time if needed.
                                                                • You CANNOT erase the audio once it is
                                                                  recorded.
     1/15/2021                                        15




15                                                         16



                                                                     Click on the START AUDIO RECORDING on the DE screen to
                      Audio Reminders                                             automatically start the recording.


     • Always do an audio check in the morning
       before the first hearing
     • Make sure your microphone is on (varies
       between boroughs)
     • Make sure the volume settings are correct on
       your computer.
     • Make sure the recording screen appears
       before you start the hearing.

     1/15/2021                                        17        1/15/2021                                                     18




17                                                         18



                                                                                                                                     3
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         A RECORD/PAUSE/STOP/CLOSE window will pop up.
            Press STOP when you conclude your hearing.
                                                                               You can check audio from Case
                                                                                          History




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19                                                                 20




                                                                                    Scan All Evidence in Color
     • We are paperless!
     • You can scan evidence from your printer. There is no
       need to retain hard copies of evidence in the file.
       Return all originals to the witness.
     • You can always view the scanned evidence by going
       to the CASE HISTORY screen.




     1/15/2021                                                21        1/15/2021                                22




21                                                                 22




     • Select Document Type (Always use “Hearing
       Officer – Exhibits”) and mark the evidence (i.e.
                                                                        Click on              then
       R1 - Permit or P1 - Aff of Serv)




     1/15/2021                                                23        1/15/2021                                24




23                                                                 24



                                                                                                                        4
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     You can check Case History for
     scanned item                                               • Respondents or Representatives can now email
                                                                  evidence in most formats (PDF, Word DOC, JPEG,
                                                                  HTML docs. etc.) to a shared email address during
                                                                  their hearing with the Summons Number/Hearings
                                                                  Division location or your last name in the subject
                                                                  line to ExhibitsHealth@oath.nyc.gov
                                                                • Let your managing attorney know you are expecting
                                                                  emailed evidence and s/he will forward the email to
                                                                  you during the hearing.


     1/15/2021                                        25        1/15/2021                                               26




25                                                         26




     Uploading Emailed Evidence                                  • Select Upload from Tab

     • Once you have received the email, save it to
       your desktop
     • You can Upload the exhibits during or after
       the hearing the same way you scan the
       physical documents. They will appear in the
       Case History.



     1/15/2021                                        27        1/15/2021                                               28




27                                                         28



     Click “Browse” to find the saved                            Select Document Type (Always use
     item                                                           “Hearing Officer – Exhibits”)




     1/15/2021                                        29        1/15/2021                                               30




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       Identify the evidence in the notes
          section and click “Upload”
                                                            TRUE OR FALSE?
                                                            1. You can view a copy of the summons and IR
                                                               from the Case History page.
                                                            2. The Notice of Appearance page would allow
                                                               you to see all documents scanned in as the
                                                               respondent’s evidence during a hearing.
                                                            3. If you made an error during the hearing you
                                                               can erase the audio recording and start over.

     1/15/2021                                    31        1/15/2021                                             32




31                                                     32




     1. True
     2. False – you an see scanned docs in Case
        History page
     3. False – once recorded audio cannot be
        erased




     1/15/2021                                    33        1/15/2021                                             34




33                                                     34




                                                                        Decision Entry Screen
                    Decision Entry Screen                   • Where you enter relevant information for all persons
                                                              appearing before you (I.e. respondent’s name or
                                                              authorized representative), whether
                                                              Inspector/Attorney is waived, findings of fact, fines
                                                              imposed, severity levels
                                                            • ATAS for NOV’s issued on or after 7/18/14,
                                                              automatically prepopulate the penalty for F (food) and
                                                              (E) cigarette cases
                                                            • Severity Condition Level



     1/15/2021                                    35        1/15/2021                                             36




35                                                     36



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                                                                                          Summary Disposition Codes
                              Notes                                                Must select before adjudicating individual charges
     • In the “Notes” section under the Summary
       Disposition code, you can add additional
       information such as if Language Services were
       used or if the witness had authority of
       ownership to appear.




     1/15/2021                                                      37        1/15/2021                                                        38




37                                                                       38



                 Disposition Codes for Line Items                                 You May Only Use a Dismissal Summary Disposition
                                                                                   Code if You Are Dismissing All Charges in an NOV
     • If you sustain any one of the individual line items
       (even if you dismiss all other charges) you must                       • Choosing one of the dismissal summary disposition codes will
       select the SUSO Summary Disposition Code.                                pre-populate all individual line items with that dismissal code.




     1/15/2021                                                      39        1/15/2021                                                        40




39                                                                       40



                     Summary Disposition Codes:
 • SUSO: Sustained-credited facts establish a violation to cited code         Writing Your Decision
   section.
 • DISM: Dismissed on the merits-credited evidence establishes
   defense to properly cited violation                                    • You can magnify the findings box for individual line
 • DISD: Dismissed Defective Summons – the charge is defective on           items by double-clicking. Be sure to click OK to save.
   its face                                                               • You must spell check each line item by using the spell
 • DISJ: Dismissed No Jurisdiction – for instances where the charge         check icon on bottom right of the box.
   was not served on the respondent (not part of the NOV)
 • DISW: Dismissed – Wrong Party Named
 • DNPF: Dismissed – No Prima Facie Case – the allegations do not
   make out a violation of the cited code section

 • There are other codes (i.e., adjournment codes) to chose from,
   depending on the type of case being adjudicated.
     1/15/2021                                                      41        1/15/2021                                                        42




41                                                                       42



                                                                                                                                                      7
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                                                                                      Save Function
                                                                      • As you are writing, your decision auto-saves every
                                                                        few minutes.
                                                                      • You also can choose to save your decision by
                                                                        manually clicking on the “Save” button. If you are
                                                                        writing a lengthy decision, this is recommended.
                                                                      • You may also write in Word and save your decision as
                                                                        a backup in case ATAS incurs any problems.




     1/15/2021                                              43        1/15/2021                                            44




43                                                               44




     TRUE OR FALSE?                                                   1. True – fines for food and E-cigarette NOVs
     1. For a food NOV issued on 7/20/14, ATAS will                      issued on or after 7/18/14 will prepopulate
        automatically prepopulate the penalty in the                  2. False – You must always enter both
        DE page.
     2. In writing your decision you must always
        enter either a summary disposition code or a
        decision code for your line items.


     1/15/2021                                              45        1/15/2021                                            46




45                                                               46



                                                                                  Bundling Reminders
                                                                      • Each subpart needs a finding, a disposition and a
     • Sometimes DOHMH charges one                                      penalty. The subparts with the disposition BD have a
     violation but separates it out into subparts. This is              penalty of 0.
     known as a bundled charge.                                       • BD dispositions must show the subpart number with
     • For example, a charge for three different hot food               which they are being bundled (example: BD #1a) .
        items out of temperature may be presented on the
        NOV as three subparts, numbered as 1a, 1b and 1c.
        If you are sustaining all subparts, there is one SUSO
        code only and one penalty only. All other subparts
        are bundled, with each subpart having a 0 penalty.
        Bundling all other subparts means you are sustaining
        subparts that are all part of the same violation.
     1/15/2021                                              47        1/15/2021                                            48




47                                                               48



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     Bundling When One or More Subparts are
                   Dismissed                                                     Severity – F1 Letter Grading Cases
 • If you are sustaining at least one subpart, but not all, use            • If you sustain a charge in its entirety, you must make
   SUSO for one of the subparts.                                             sure the severity level was correctly charged
 • If intending to dismiss a violation charged in multiple                   pursuant to Commissioner’s Regs. 24 RCNY,
   parts (1a, 1b, 1c), dismiss each line item individually. Do               Appendix 23-B.
   not bundle them together and dismiss them as bundled.                   • Manually reduce the severity if warranted by your
                                                                             articulated findings.
                                                                           • You cannot increase severity.




     1/15/2021                                                       49        1/15/2021                                              50




49                                                                        50



                   Severity in Bundled Charges
 • For a multi-part violation, if you sustain all parts of the charge,               Decision with Severity Reduced
   impose your SUSO disposition for the subpart with the highest
   severity.
 • If you sustain one part of a bundled charge and dismiss another
   part, you must manually decrease the severity of the sustained
   violation.
 • ATAS will base the letter grade on the severity for the SUSO line
   item only.




     1/15/2021                                                       51        1/15/2021                                              52




51                                                                        52



                                                                                       Decision with Bundled Vermin
                                                                                                 Violations
     • DOHMH treats multiple vermin charges as one
       violation, despite presenting them as separate
       line items on an NOV.
     • Therefore, vermin violations, if not dismissed,
       must be bundled, with one penalty only.




     1/15/2021                                                       53        1/15/2021                                              54




53                                                                        54



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                 Severity – Vermin Violations
     • If sustaining multiple vermin charges, SUSO                       • This charge is not duplicative and heard/sustained
       the highest severity line item and “bundle”                         separately from the vermin violations.
       the rest of the line items into the highest by                    • Therefore, conditions conducive are not bundled
       using the BD disposition code.                                      with vermin violations.

     • ATAS will determine letter grade based on
       severity of the SUSO violation and not to the
       bundled ones.


     1/15/2021                                                 55        1/15/2021                                                  56




55                                                                  56




     TRUE OR FALSE?
     1. A line item that can be bundled must always                      1.     True
        have its own decision code.                                      2.     False – lowest into the highest always
     2. You must always bundle the highest severity                      3.     False – vermin are not charged in subparts
        condition level into the lowest.                                 4.     False – conditions conducive to pests should
     3. If the line items are not in subparts you                               not be bundled
        cannot bundle them.
     4. An allegation of mice activity present and an
        allegation of holes present, allowing for the
        movement of mice must be bundle.
     1/15/2021                                                 57        1/15/2021                                                  58




57                                                                  58




                  Submitting Your Decision                               Print Preview Screen
                                                                         If you want to edit, close print preview, make changes on
                                                                         Decision Entry screen, and then open preview again. When you
     • You need to click the “Submit” button. You’ll see the
                                                                         are ready to submit your decision, remember to X out of
       Preview screen again. X out of Preview and click                  preview screen.
       “Submit” a second time. Then click “OK” on the
       window you’ll see next.




                                                          59
     1/15/2021                                                           1/15/2021                                                  60




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                  Submitting Your Decision                                       Do Not Exit by clicking the red X!
                                                                                 Go to “Home” only after properly submitting
     • You must click “OK” in order to complete the
       submission of your decision. If you do not see
       the “Your Decision Has Been Successfully
       Saved” window, then it will not be submitted.
     • After you properly submit, ATAS automatically
       returns to “Home.”




     1/15/2021                                                    61        1/15/2021                                          62




61                                                                     62




                                                                                        Adjournment Decision
     • Adjournments are a 2-step process.
     • 1st step – Adjournment Decision. Decision Entry Screen will
       appear. Select appropriate Summary Disposition.
     • Be sure to use the proper adjournment code.
     • Whenever you are requiring the appearance of the inspector,
       for any reason, use the appropriate Adjourned for Inspector
       codes (either by Respondent, Petitioner or Hearing Officer).
     • Submit decision. After you submit the Decision, the
       Adjournment Order will appear. This Order also must be
       completed and submitted.




     1/15/2021                                                    63        1/15/2021                                          64




63                                                                     64



                                                                                           Adjournment Order
                     Adjournment Order
     • 2nd step – After submission of Adjournment Decision,
       Adjournment Order will appear.
     • Note whether the Respondent waives an attorney
     • You must specify who is requesting the adjournment and why.
     • You must also indicate that the party or parties appearing
       were notified of Order’s contents.
     • Explain why you are adjourning the case and what evidence
       and/or witnesses are needed. If you are requiring the
       Inspector to appear, you must specify the reason.
     • Submit Order. This is your 2nd submit.


     1/15/2021                                                    65        1/15/2021                                          66




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                                                                               My Queue Folder
     Reserving a Decision
                                                             • Check your “My Queue” daily
                                                             • It may contain:
 • Submit in ATAS using RSVD summary disposition code.
                                                                – Decisions you reserved
 • Respondent must be advised to go to waiting room to be
   called by Reception so the NOA can be served on              – Cases in need of correction that have been returned to
   him/her – this is respondent’s proof of appearance at          you by QA Unit or Reception
   the Hearings Division.                                           – Let your MA know when you have submitted
 • Let the Managing Attorney know when you are reserving
   a case.
 • Case will be in your “My Queue” folder
 • Finish the decision next time you come to work.
     1/15/2021                                        67         1/15/2021                                            68




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                     Adding a Case Note                                      Adding a Case Note
                                                                 • Access from NOV page by clicking on “Case
     • Use case notes to document important case
                                                                   Notes” Tab
       events that otherwise would not be in ATAS.
       Example: if person appearing does not have                • Click on “Add New Notes”
       standing to represent Respondent, add case                • Add your note and then click “Submit”
       note indicating who appeared and when, basis
       for your determination of no standing, and
       fact that you did not hold hearing or if you
       have to recuse yourself.


     1/15/2021                                        69         1/15/2021                                            70




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                      Add New Notes                                             Add New Notes




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                                                                                                  License & Permit Information
     • Additional information such as other
       violations issued to Respondent, and license
       and permit information filed with DOHMH, is
       available on ATAS. Consult these screens if
       they are relevant to issues in the case before
       you. However, remember that you must
       access the information on the record and
       enter it into evidence, and give the parties
       before you an opportunity to respond.
     1/15/2021                                                              73        1/15/2021                                      74




73                                                                               74




                       License & Permit                                                                Violation History
     • Shows dates of issue and expiration, and name of principal. If
       considered as evidence, be sure to make it part of record and give
       opportunity to respond. Be careful, as some of the information
       contained in this section may not be current or may be inaccurate.




     1/15/2021                                                              75        1/15/2021                                      76




75                                                                               76




                       Violation History
                                                                                      TRUE OR FALSE?
                                                                                      1. After writing your decision you will have to
                                                                                         click on “submit” twice then “OK” in order to
                                                                                         record your submission.
                                                                                      2. When adjourning a case you must choose
                                                                                         “SUSO” as a summary disposition code then
                                                                                         fill out the Adjournment Order.
                                                                                      3. If you reserve a decision you have up to 90
                                                                                         days to submit it.
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77                                                                               78



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     1. True
     2. False – SUSO is for sustaining a case. You
        must choose an appropriate ADJ code
     3. False – you must finish and submit your
        reserved decision the next time you come to
        work.



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                                                                                 Where to Find a Case
       Adjudicating DCA Cases in ATAS                                  • DCA cases will be in the same ATAS folders
                                                                         that are in use now. DCA cases in ACTIVE
                                                                         status will be in Today’s Hearing Case folder
                                                                         and DCA cases in PD status will be in the
                                                                         Pending Default Adjudication folder. There
                                                                         may also be DCA dockets in the Motion to
                                                                         Vacate Defaults folder, Withdrawal Request
                                                                         folder, or your My Queue.



1                                                                  2




                Where to Find a Case                                           Accessing the Summons
    • After you click on a docket in any of the                        • As with any DOHMH live hearing, Hearing
      folders, the tool bar at the top of the screen                     Officers access a case by opening Today’s
      will give you the same access to the NOV                           Hearing Case Folder and clicking on the radio
      page, Case History, Decision Entry and Scan                        button next to the selected docket.
      function that you have currently.




3                                                                  4




             Accessing the Summons                                       Case Documents: The Summons
    • There is no icon for the NOV or Inspection Report. Rather,       • The summons and inspection report are accessible in
      you need to open Case Documents on the tool bar and click          Case Documents. Although our rules only allow for
      on the “View” hyperlink next to the Notice of Hearing              the summons and inspection report (if served) to be
      document. The Notice of Hearing, sometimes called the NOH,
      is the DCA equivalent of a summons or NOV.
                                                                         filed, there may be additional documents in the Case
                                                                         Documents tab. These should only be considered at
                                                                         an in-person hearing, if introduced by Petitioner as
                                                                         evidence at the hearing.




5                                                                  6



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        Case Documents: The Summons                                                  The Decision Entry (DE) Screen

     • Currently, DCA inspectors do not use hand-held
       devices to summonses. Summonses are handwritten
       and DCA data entry personnel later digitally transmit
       the statutory citations and violation descriptions for
       each charge into ATAS. If a statutory citation on the
       Decision Entry screen does not match the citation on
       the summons, a docket correction may be needed.




7                                                                      8




      Decision Entry Screen (continued)                                           DE Screen: Line Item Fields
     • The caption appearing at the top of the Decision Entry (DE)          • As in DOHMH cases, there are fields on the DE
       Screen for DCA cases will appear exactly as it does for DOHMH
       cases, except that DCA is named as the Petitioner.                     screen for Line Item number, Violation Code,
     • DCA docket numbers differ from DOHMH docket numbers -                  Code Section, Violation Description and
       sometimes they start with T or C or consist of 8 numbers and           Hearing Officer’s Findings.
       no letter.
                                                                            • The Violation Code field will be populated
                                                                              simply as “DCA” because currently, DCA does
                                                                              not use violation codes.




9                                                                      10




           DE Screen: Occurrence Field                                                      Occurrences
     • DCA does not charge violations based on                              • The occurrence dropdown will be populated with
       condition or severity. That portion of the DE                          the number 1, 2 or 3. A “2” or “3” indicates that
                                                                              Petitioner intends to establish at hearing that
       screen will instead be used to indicate                                Respondent has one or two prior violations of the
       whether a charge is a 1st, 2nd or 3rd                                  same charge within a certain period of time.
       occurrence.                                                          • You will be able to select the appropriate
                                                                              occurrence from the dropdown on the DE screen.
                                                                              You can decrease the number but you cannot
                                                                              increase the occurrence beyond what you see on
                                                                              the screen.



11                                                                     12



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                                                                               In this example, Petitioner intends to establish that Respondent has 2 prior
                          Occurrences                                           violations of the same charge within a certain period of time. The Hearing
                                                                                         Officer may keep it at 3, or lower the occurrence to 2 or 1.

     • When a 2nd or 3rd occurrence is displayed, you must also
       make specific findings of fact in your decision. Be sure to
       state what Petitioner claimed at hearing as its basis for a 2nd
       or 3rd occurrence.
     • What constitutes a second or third or subsequent violation for
       the particular charge before you will be defined in the fixed
       penalty rule. Depending on the charge, the rule may provide
       that the violation must have occurred within a certain time
       period, or that the violation must have been committed by
       the same Respondent or at the same place of business.




13                                                                       14




       Line Items - Violation Description                                                  The Summons Controls
     • The text in the Violation Description that                             • You must enter a separate decision code, applicable penalty,
                                                                                and any other required action for each line item. In
       appears on the DE screen is irrelevant, as it                            adjudicating the charges, remember to consider the
       may be incomplete or inaccurate. As with                                 summons, not the violation descriptions on the DE screen.
       DOHMH cases, the text as it appears on the
       physical summons filed with OATH and                                   • Sometimes DCA may issue summonses with multiple “counts”
                                                                                of the same charge. On the summons it most often will be
       accessed via Case Documents, controls!                                   presented as one charge with a specific number of counts, but
                                                                                on the DE screen, multiple counts may appear as separate line
                                                                                items with similar or identical Violation Descriptions.




15                                                                       16



       Summary Dispositions and Line Item
                                                                                                         Line Items
                    Codes
     • All Summary Disposition codes for DCA live                             • CURE or PLEAD will automatically populate when a
                                                                                line item charge has either been cured or pled to
       hearings are the same as in DOHMH live                                   prior to the hearing. When this occurs, CURE or
       hearings.                                                                PLEAD will appear in gray and the Hearing Officer will
                                                                                not be able to change it. Cured or pleaded line items
                                                                                are not to be adjudicated.
     • All line item Decision Codes are the same as in
       DOHMH cases, with the addition of “CURE”                               • The BD Decision Code dropdown option and the C/B
       and “PLEAD” as dropdown options.                                         # field should be ignored because there is no
                                                                                bundling for DCA cases.




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                     Fixed Penalties                                Penalties That Do Not Prepopulate
     • Most DCA charges will have fixed penalties                   • Some DCA charges you sustain may not result
       promulgated by rule. If a violation of one of these            in a prepopulated penalty. ATAS may not
       charges is sustained or defaulted, the monetary                recognize the charge, the summons may have
       penalty will automatically prepopulate in the penalty
       field on the DE screen. You as the Hearing Officer
                                                                      been issued before the effective date of the
       will be unable to increase or decrease the fixed               DCA fixed penalty rule, or the rule may not
       penalty amount.                                                have included a fixed penalty for that charge.




19                                                             20




          Manually Entering Penalties                                Penalties May Vary by Occurrence
     • If you sustain the violation and the penalty                 • Be aware that the fixed penalty rule, and the statutes at issue,
       does not populate for any reason, you must                     may set forth different penalties for a 1st, 2nd or 3rd occurrence
                                                                      of the same violation, at hearing and on default.
       manually enter a penalty that is either
                                                                    • If ATAS recognizes the charge and the charge carries a fixed
       provided for in the fixed penalty law, or if                   penalty, ATAS will prepopulate the correct fixed penalty for
       there is no fixed penalty, provided for within                 the occurrence you select.
       the statutory range set forth in the law at                  • If the penalty does not prepopulate and it needs to be
       issue.                                                         entered manually, be sure to take into account the occurrence
     • There is no one penalty range for all DCA                      in determining the appropriate penalty.
       violations. Penalty ranges vary by statute.



21                                                             22




                          Actions                                                  Actions - continued
     • In addition to fixed monetary penalties, the                 • Actions may vary by occurrence. For example, in
       promulgated DCA fixed penalty rule will                        the fixed penalty rule, a 2nd or 3rd occurrence, but
       provide that some DCA violations carry either                  not a 1st occurrence, may carry suspension, or the
       license revocation, revocation that can be                     1st occurrence may carry a 0-15 day suspension
       mitigated, or license suspension or premises                   and the 2nd occurrence a 15-30 day suspension.
       sealing for a range of days or a specific                    • For DCA violations not carrying a fixed penalty in
       number of days.                                                the fixed penalty rule, you will need to determine
                                                                      if the applicable statute provides for revocation,
                                                                      suspension or sealing.



23                                                             24



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       Action Dropdown and Days Field                                       Actions: Suspension, Revocation, Sealing

     • Suspension, revocation or premises sealing is entered in the        • If you sustain a charge and ATAS recognizes
       line item Action field on the DE screen, and the number of
       days of suspension or sealing is entered in the box below.
                                                                             that it carries a fixed penalty and a
     • License suspension, License revocation and Premises sealing           suspension, revocation or sealing action, the
       are options in the Action dropdown.                                   Action dropdown will be enabled.




25                                                                    26




              Actions on the DE Screen                                             Suspensions and Sealing
     • You must select the appropriate Action. If you                      • If the fixed penalty rule mandates a suspension or
       do not select the appropriate Action for a                            sealing at hearing, the rule will specify a range of
       charge recognized as carrying one, an alert                           days for a particular charge. The range may start as
       will pop up when you try to submit or go to                           low as 0 and end as high as 548 (18 months). As
       Print Preview.                                                        Hearing Officer, you will determine how many days
     • For suspensions and sealing, you must select a                        within that range is appropriate.
       number of days. If you do not enter a number                        • A suspension for 0 days will result in no suspension,
       consistent with the fixed penalty rule, an alert                      but you nevertheless must select the suspension
       will also pop up.                                                     Action and enter 0 as the number of days.




27                                                                    28




      Suspension and Sealing on Default                                                      Revocations
     • On default, if the fixed penalty rule provides                      • Many charges in the fixed penalty rule carrying
       that the violation carries suspension or                              revocation as an Action may also permit the parties
       sealing, the rule will specify a definite number                      to present evidence to mitigate the license
                                                                             revocation. These charges may appear in the rule
       of days rather than a range.                                          with a double asterisk next to the revocation penalty.
                                                                           • On those charges, if you decide to mitigate the
                                                                             revocation to a suspension, ATAS will permit you to
                                                                             impose a suspension within the range of 0-999 days.




29                                                                    30



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                   Revocations on Default                                                                          Action Alerts
     • On default, the fixed penalty rule will not provide                                    • The alert that appears will mirror the action and/or number of
       for mitigation of a revocation. If the violation                                         days provided for in the fixed penalty rule.
                                                                                              • For example, 6 RCNY 2-262(d) carries a suspension of 0-15
       carries a revocation, you will not be able to
                                                                                                days for a 1st occurrence. If you sustain but you do not enter a
       submit or access Print Preview if you have                                               suspension action and a number of days within the range and
       selected suspension, or if you have entered a                                            you try to submit or go to Print Preview, you will see this
       number of days.                                                                          message:




31                                                                                       32



                                                                                                 What if you sustain a charge but no penalty
                 Action Alerts (continued)                                                                       populates?
     •   Similarly, you will be alerted if you enter the correct suspension or sealing        • If no monetary penalty populates in ATAS once a
         action but do not enter a number of days, or you enter an incorrect
         number of days. Continuing with this example, 25 days is outside the                   charge has been sustained, you should first refer to
         range provided for a violation of 6 RCNY 2-262(d). If you select license               the DCA fixed penalty rule to determine the
         suspension for that charge but enter 25 as the number of days, when you
         try to submit or go to Print Preview you will see this message:
                                                                                                monetary penalty and whether an action and/or
                                                                                                number of days is mandated for that violation. If the
                                                                                                violation is not listed in the fixed penalty rule, you
                                                                                                must make your decision based on the penalty
                                                                                                parameters set forth in the law at issue.




33                                                                                       34




                     What If… (continued)                                                                 Potential Problems on “Day 1”

     • The Action field and number of days fields will                                        • Be aware that on Day 1 there may be system glitches
       be enabled on the DE screen. If you decide an                                            that require docket correction.
       Action is required, you will be able to                                                • For example, you may sustain a charge and either the
       manually select the appropriate action from                                              wrong penalty populates or a penalty populates but
                                                                                                you are prevented from entering an action that is
       the dropdown and enter a number of days if
                                                                                                mandated by the fixed penalty rule or the statute.
       applicable. However, you will not be alerted
                                                                                              • In these circumstances, please consult your
       to any specific action and/or number of days.                                            Managing Attorney; a docket correction may be
                                                                                                needed or IT may need to be alerted.




35                                                                                       36



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         Actions on Multiple Charges – How they work
                                                                                                    Multiple Suspensions Run Concurrently
                   together at the Case level
     •   For each line item, select the appropriate suspension, sealing or                  •   Actions and number of days are entered per line item on the DE screen. But
         revocation action option from the dropdown and enter the number of                     because the DCA law mandates that multiple suspensions run concurrently, only
         days below, if applicable.                                                             one suspension period will result from your decision. 12 days suspension on one
                                                                                                violation and 5 days on the other will result a suspension of 12 days in total, which
     •   Again, referring to the prior example, you can see that once the Hearing               will appear on the printed Decision. ATAS will do this automatically.
         Officer was alerted that 25 days was too many for line item 1 because the          •   Please note: “Points” will always be blank on the printed Decision.
         range in the fixed penalty is 0-15, she has now reduced the days to 12. For
         line item 2, the Hearing Officer determined that the suspension should be
         for 5 days (the suspension period on that charge is also 0-15).




37                                                                                     38




                  Multiple Actions - Rules                                                           Multiple Actions - continued
     • Premises sealing also runs concurrently if there are multiple                        • Revocation trumps suspension, so a revocation on one line
       violations imposing a sealing action. Therefore, if you impose                         item and suspension on the other will appear on the printed
       a 5 day sealing for one violation and 10 days sealing for the                          Decision as License revocation. If there is a sealing as well as
       other, the printed Decision will show one, 10 day premises                             a revocation, the printed Decision will show “License
       sealing.                                                                               revocation and Premise sealing (__ days).”
     • If you impose suspension on one violation and sealing on                             • Since the printed Decision will not display action
       another, “License suspension (__ days) and Premise sealing                             determinations for each individual charge, it is very important
       (__ days)” will appear in the Action field on the printed                              that you clearly state in your findings what action you have
       Decision.                                                                              decided is warranted or not warranted for each line item with
                                                                                              possible suspension, revocation or sealing actions.




39                                                                                     40




                         Per Day Penalties                                                         Per Day Penalties (continued)
     • Some DCA violations carry “per day” penalties. Most                                  • At hearing, you can modify the prepopulated
       such violations have no base penalty but a $100 per                                    number of days, consistent with your findings
       day penalty. Less frequently, there could be a $1000                                   of fact.
       base penalty plus a $100 per day penalty.
     • The Per Day Penalty field in ATAS will display the
                                                                                            • The total penalty for that charge will then be
       amount of the daily penalty, usually $100, and below                                   calculated automatically by ATAS.
       that, a prepopulated number representing the
       number of days from the inspection date to the first
       scheduled hearing date will appear.




41                                                                                     42



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      In this example, the prepopulated number of days was 49, and the Hearing
     Officer decided that 42 was the appropriate number. (The 1 st line item carries         Per Day Penalties on the Printed Decision
                  a base penalty of $1000 plus the daily $100 penalty.)

                                                                                            • The number of days you find will not be visible in the
                                                                                              Per Day Penalty field on the printed Decision; only
                                                                                              the total penalty for that violation will appear.
                                                                                              Therefore, it is extremely important that you make
                                                                                              an explicit findings of fact in your written decision.
                                                                                            • Per day penalties do not vary by occurrence, and the
                                                                                              penalties at hearing and on default are identical.




43                                                                                     44




                                Restitution                                                             Restitution (continued)
     • For some DCA violations, Petitioner may seek an                                      • If there is no restitution claimed, then the restitution field will
       award of restitution on behalf of a consumer.                                          appear on the DE screen as 0.00. If you try to enter an
                                                                                              amount, you will not be able to submit your decision.

     • The amount sought must appear on the summons. It                                     • The Hearing Officer can reduce the prepopulated number
       will also appear on the DE screen in ATAS, as either                                   down to as low as 0 but cannot increase the prepopulated
       an Individual Restitution Amount or a Lump Sum                                         number.
       Restitution Amount.
                                                                                            • The amount of restitution you award will appear on the
                                                                                              printed Decision as one Restitution Amount.




45                                                                                     46




                  Restitution (continued)                                                               Restitution (continued)
     • In this case, the Hearing Officer opening the DE screen sees                         • Once you have adjudicated the case and made a restitution
       $1700 as the prepopulated Individual Restitution Amount.                               determination, modify the prepopulated amount on the DE
       You should ensure that this amount is consistent with what                             screen if necessary.
       Petitioner alleged in the summons.                                                   • Here, the Hearing Officer reduced the amount of restitution
                                                                                              from $1700 to $950.




47                                                                                     48



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            Restitution – Printed Decision                                                                             Recommended Decisions
     •   When you make your decision, it is important that you make clear findings                        • Some DCA charges that are brought pursuant to State law
         of fact on the amount of restitution you are awarding, if any, and the basis                       require that OATH make a recommended decision, not a final
         of your determination.
                                                                                                            decision. Not all State charges result in recommended
     •   The amount of restitution you award will appear on the printed Decision
         as one Restitution Amount.
                                                                                                            decisions.
                                                                                                          • ATAS has been programmed to recognize those State charges
                                                                                                            that result in recommended decisions. In those cases, ATAS
                                                                                                            will automatically convert your “regular” decision into a
                                                                                                            recommended decision. You will use the same Summary
                                                                                                            Disposition and Decision Codes as you do in any ATAS
                                                                                                            decision, but you will not be able to enter a penalty.




49                                                                                                   50



            Recommended Decisions in Case                                                                     Recommended Charges: Penalties and
                     History                                                                                              Actions
                                                                                                          •    If you sustain or default a “recommended charge,” no penalty will appear
                                                                                                               on the DE screen. You will not be able to enter an amount.
     • In Case History, the case you decided will appear                                                  •    Recommended charges do not carry Actions.

       with the same Summary Disposition you submitted.
       The hyperlink to your decision will be labeled
       “Decisions”, as with any other decision. The fact that
       all or part of the decision is recommended will
       appear on the printed decision only.




51                                                                                                   52




         The Printed Recommended Decision                                                                        Line Items on Printed Decision
     •   After you submit your decision, the recommended charges will appear on a printed
         “Recommended Decision” or “Recommended Default Decision.” Whether you sustained,                 •    “Recommended” will also appear in each line item decision (unless the
         dismissed or defaulted the case, “Recommended” will display as the Summary Disposition on
         the printed decision.                                                                                 charge was cured or withdrawn). The penalties will be blank.




53                                                                                                   54



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                                                                            Q&A
          Bifurcated                          Decisions

     • Sometimes a single summons contains a mix of both
       recommended and non-recommended charges.
     • ATAS will segregate the non-recommended and
       recommended charges and will print out a single decision in
       two parts.
     • On the printed Decision, be aware that line items may not
       appear in numerical order.




55                                                                   56




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                     CITY EXHIBIT 3




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John Supik (OLR)

From:                   Rebecca H. Morales (DCAS) <RHmorales@dcas.nyc.gov>
Sent:                   Friday, May 29, 2020 12:07 PM
To:                     'Grant, Lakisha'; Alexander, DeShanna; Louis, Donna; Burke, Jocilyn; Jakubowicz, Maya
                        (MAYOR); SGuglielmi@boe.nyc.ny.us; handrieux@nyccfb.info; Danica You; Kitt Chan;
                        acharles@actuary.nyc.gov; ksnow@actuary.nyc.gov; twong@actuary.nyc.gov;
                        cschaffer@nycers.org; Dwilliams@nycers.org; mbrooks@nycers.org; Lyles, Deirdre
                        (ManhattanBP); DCabrera@bronxbp.nyc.gov; Lwilliams@bronxbp.nyc.gov; Ruiz, Melody
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                        asingh@comptroller.nyc.gov; D'Angelo, Amedeo; ndupree@comptroller.nyc.gov;
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                        Alexa.Samarotto@nypd.org; Singh, Tricia (FDNY); Brown, Terryl L. (FDNY); Hamblin,
                        Bridget (FDNY); Massucci, Michael J. (FDNY); Assisi, Jeffrey M. (FDNY); Thornton, Audrey
                        (FDNY); Parker, Jason (DVS); Cherigo, Andre (DVS); Hester, Melissa (ACS); Jones, Evan
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                        Velazquez, Acela (CityClerk); Therese Romero (AGING); Leon Madramotoo (AGING);
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                        (CCHR); Stodola, Damion (CCHR); Rozen, David (CCHR); Mragone@nycppf.org;
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                        Tene; mrunko@nycsci.org; Mapp, Suzette (DOP); Melendez, Zenia (DOP); Negrete,
                        Nelmy (SBS); Schwartz, Andrew (SBS); Edwards, Kimberly (SBS); Walton, Velma (SBS);
                        Soun, Sean (HPD); Mack, Margie (HPD); Serafina Rutigliano (Buildings); Trisha Munroe
                        (Buildings); smcfarla@health.nyc.gov; Julie Friesen; sheath@health.nyc.gov; Romero,
                        Nancy (OCME); Maniotis, Dina (OCME); Livingston, Karen (OATH); Howard, Cherron
                        (OATH); zcampbell@dep.nyc.gov; herbr@dep.nyc.gov; mpaluszek@dep.nyc.gov; Arias,
                        Teresa (Recovery); Greenstein, Elizabeth (Recovery); Shrouder, Kisha (DSNY); Talukder,
                        Nafisa (DSNY); Haskins, Cindy (BIC); McGruder, Danita (DOF); Dickey, Corinne (DOF);
                        Hyman, Michael (DOF); hholloway@dot.nyc.gov; jstroughter@dot.nyc.gov;
                        lpalacios@dot.nyc.gov; Terhune, David (Parks); Singh, Aretha (Parks); Garcha, Rajinder
                                                  1
                                                                        Hyman Reply Dec. Ex. C - 112
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To:                             (Parks); Levine, Sara (Parks); Harrison, Dalela (DDC); Gonzalez, Anilexa (DDC); Wuest,
                                Susan (DDC); Brooks, Ayana M.; sabramson@doitt.nyc.gov; Pacheco, Naomi (Records);
                                Chapman, Tampra (DCA); Mateo, Margaret (DCA); Abeles, Sandra (DCA); Monique Knoll
                                (DCAS); Shameka Boyer Overton (DCAS); Shameka Blount (DCAS);
                                argyrosg@dany.nyc.gov; Cunningham, Katricia; isaacs@dany.nyc.gov; Primack, Karen
                                (BronxDA); Mateo Valdez, Ana B. (BronxDA); Pereles, Cynthia (BronxDA); BARTLEY,
                                JACQUELINE; jonesk3@brooklynda.org; Myrna Mateo; Monique Jones(RCDA);
                                ASimmons@snp.nyc.gov; Smiddleton@snp.nyc.gov; Damas, Dahlia (PANY); Santana,
                                Frances (BronxPA); Sanchez, Matilde (BronxPA); Crespo, Virnalisy (BronxPA); Glover,
                                Aaishatu (KingsPA); Buckheit, Richard (KingsPA); susan@queenscountypa.com; Ramos,
                                Jacqueline; psmith@mtabt.org; Arivera@mtabt.org; LKaufma@mtabt.org;
                                LCole@mtabt.org; MNarvaez@mtabt.org; nicole.vangendt@nycha.nyc.gov;
                                Abiodun.Oluwa@nycha.nyc.gov; cherry.mccutchen@nycha.nyc.gov;
                                david.marcinek@nycha.nyc.gov; Kerri.Jew@nycha.nyc.gov; Gerard.Serpico@cuny.edu;
                                samantha.palmer@cuny.edu; richard.gorman@nyct.com; deborah.oconnor@nyct.com;
                                Jennifer.misiti@nyct.com; Marisol.Quinones-Gomez@nyct.com;
                                Michael.Quiery@nyct.com; patricia.lodge@nyct.com; smoran@nycsca.org; ECruz-
                                Ali@nycsca.org
Cc:                             Barbara Dannenberg (DCAS)
Subject:                        COVID-19 Recovery for City Employees Survey



Dear Agency Personnel Officers,

This email is being sent on behalf of Barbara Dannenberg, Deputy Commissioner for Human Capital at the
Department of Citywide Administrative Services (DCAS).

As New York City plans its “reopening,” and private/public service delivery is rolled out in phases, we are
reaching out to the City’s workforce to directly inform post-COVID-19 recovery work. COVID-19 has taken a
devastating toll on New York City, and there are 27 neighborhoods specifically that were most severely
impacted. As the City seeks to recover from this pandemic, we appreciate your thoughts and feedback on
ways in which the City can support you as an employee, and support your community.
Please share this information and survey with your agency's employees using the survey link below. The link is
accessible via laptop, iPad or mobile phone, and will be available until 5 pm, Friday, June 5th.

         http://sgiz.mobi/s3/COVID-19-Recovery-for-City-Employees

Thank you.




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                     CITY EXHIBIT 4




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Olga Statz, Esq.
General Counsel
Office of Administrative Trials and Hearings
100 Church Street, 12th Fl.
New York, N.Y. 10007
(212) 933-3003

From: DeRoberts, Sharina (OATH) <SDeRoberts@oath.nyc.gov>
Sent: Thursday, December 31, 2020 1:40 PM
To: Statz, Olga (OATH) <OStatz@oath.nyc.gov>
Cc: May, Linda (OATH) <LMay@oath.nyc.gov>; Slifka, Amy (OATH) <ASlifka@oath.nyc.gov>; Fisher,
Cynthia (OATH) <CFisher2@oath.nyc.gov>
Subject: Fwd: NYC OATH ALERT - Return to Work Survey




From: NYC OATH ALERT <noreply@everbridge.net>
Sent: Tuesday, June 2, 2020, 1:45 PM
To: DeRoberts, Sharina (OATH)
Subject: NYC OATH ALERT - Return to Work Survey



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Please click here to acknowledge receipt of this message
Dear OATH Employees:
The Department of Citywide Administrative Services (DCAS) has asked all City employees to fill out an
anonymous survey relating to what you feel you need when we return back to work. Please fill it out and
submit it to DCAS as soon as possible. The survey will close at 5PM on June 5th. The survey can be found
here: http://sgiz.mobi/s3/COVID-19-Recovery-for-City-Employees. OATH will continue to keep you
updated as our plan to reopen the agency’s offices develops. If you have any questions related to the
reopening of the agency, you should send them to returntowork@oath.nyc.gov. In the coming weeks we
will be updating the FAQ sheet we circulated with answers to any new questions we receive. Stay
healthy and safe!




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                     CITY EXHIBIT 5




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COVID-19 Recovery for City Employees

As the COVID-19 pandemic continues to evolve and impact New York City, City
employees have demonstrated once again their commitment to keeping NYC
running.

As the City reopens, we are looking to gain insight to gauge what our employees
need as the City reopens, and what support employees need as they provide
services to the community.

The survey will take approximately three minutes and the results will be
anonymous.

Thank you for your continued service.



1) What services do you believe are being offered to communities, that are not being
offered to yours? (Select all that apply)*

   Access to COVID-19 testing

   Access to antibody testing

   Access to Personal Protective Equipment (PPE)

   Clear communication on changes to new rules for social distancing

   Other - Write In (Required):                                *



2) What information can the City (as an employer) provide to make you feel safer upon
your return to your office/worksite? (Select all that apply)*

   Provide clear guidance regarding temperature screenings

   Protocols for use of shared space

   Provide Personnel Protective Equipment (PPE)


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   Protocol on cleaning and disinfecting measures

   Provide phased return to work approach

   Other - Write In (Required):                                *



3) What is the single most important thing you need right now as a City employee?*

   Childcare

   Commuting options other than mass transit

   Personal Protective Equipment (PPE)

   Social distancing protocols in the workplace

   Available flexible work schedule/teleworking options

   Other - Write In (Required):                                *



4) If you are a resident of a neighborhood below most deeply impacted by COVID-19, what is
the single most important thing you need right now?*




  Borough          Neighbohood
Brooklyn     Bed-Stuy
Brooklyn     Brighton Beach
Brooklyn     Brownsville
Brooklyn     Bushwick
Brooklyn     Canarsie
Brooklyn     East Flatbush
Brooklyn     East New York
Brooklyn     Starrett City
Brooklyn     Sunset Park
Manhattan    Central Harlem
Manhattan    Chinatown
Manhattan    East Harlem

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Manhattan       Hamilton Heights
Manhattan       Inwood
Manhattan       Lower East Side
Manhattan       Morningside Heights
Manhattan       Washington Heights
Queens          Briarwood
Queens          Corona
Queens          Jamaica
Queens          Queensbridge
Queens          Rockaway/Far Rockaway
Staten Island   Stapleton-St George
The Bronx       Crotona
The Bronx       East Tremont
The Bronx       Highbridge
The Bronx       Hunts Point
The Bronx       Jerome Park
The Bronx       Longwood
The Bronx       Melrose
The Bronx       Morris Heights
The Bronx       Morrisania
The Bronx       Mott Haven
The Bronx       Soundview
The Bronx       Soundview-Bruckner
The Bronx       Van Cortlandt Village


    Job opportunities for a loved one or friend

    Childcare

    Eldercare

    Availability of Personal Protective Equipment (PPEs) and how to get it

    Other - Write In (Required):                                 *

    I'm not a resident of a neighborhood hard hit by COVID-19




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5) Are you a caregiver?*

   Yes

   No



Logic: Hidden unless: #5 Question "Are you a caregiver?" is one of the following answers
("Yes")

6) How many people do you care for?*



                0          1           2          3        4         5      More than 5
 Children
 Elders
 Others



7) Which agency do you work for?

   Actuary

   Administration for Children's Services (ACS)

   Administrative Trials & Hearings (OATH)

   Aging (DFTA)

   Board of Correction (BOC)

   Board of Education Retirement System

   Board of Elections (BOE)

   Borough President - Bronx (BP-BX)

   Borough President - Brooklyn (BP-BK)

   Borough President - Manhattan (BP-MAN)

   Borough President - Queens (BP-QNS)

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Borough President - Staten Island (BP-SI)

Buildings (DOB)

Business Integrity Commission (BIC)

Campaign Finance Board (CFB)

City Clerk (CLERK)

City Council (COUNCIL)

City Commission on Human Rights (CCHR)

City Planning (DCP)

City University of New York (CUNY)

Citywide Administrative Services (DCAS)

Civil Service Commission (CSC)

Civilian Complaint Review Board (CCRB)

Collective Bargaining (OCB)

Comptroller

Conflicts of Interest Board (COIB)

Consumer Affairs (DCA)

Correction (DOC)

Cultural Affairs (DCLA)

Design & Construction (DDC)

District Attorney - Bronx County (DA-BX)

District Attorney - Kings County (DA-BK)

District Attorney - New York County (DA-NY)

District Attorney - Queens County (DA-QNS)

District Attorney - Richmond County (DA-SI)


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District Attorney - Special Narcotics (DA-NARC)

Education (Administration) (DOE)

Emergency Management (NYCEM)

Employee Retirement System (NYCERS)

Environment Protection (DEP)

Equal Employment Practices Commission (EEPC)

Finance (DOF)

Financial Information Services Agency (FISA)

Fire (FDNY)

Fire Pension Fund (NYCFPF)

Health and Hospitals (H+H)

Health & Mental Hygiene (DoHMH)

Health and Mental Hygiene (OCME)

Homeless Services (DHS)

Housing Authority (NYCHA)

Housing Preservation & Development (HPD)

Human Resources Administration (HRA)

Independent Budget Office (IBO)

Information Technology & Telecommunications (DoITT)

Investigation (DOI)

Labor Relations (OLR)

Landmarks Preservation Commission (LPC)

Law Department (LAW)

Management & Budget (OMB)


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Mayor's Office (MAYORALTY)

Mayor's Office of Contract Services (MOCS)

Mayor's Office of Housing Recovery Operations

Parks & Recreation (DPR)

Payroll Administration (OPA)

Police (NYPD)

Police Pension Fund (NYCPPF)

Probation (DOP)

Public Administrator - Bronx County

Public Administrator - Kings County

Public Administrator - New York County

Public Administrator - Queens County

Public Administrator - Richmond County

Public Advocate

Records & Information Services (DORIS)

Sanitation (DSNY)

School Construction (SCA)

Small Business Services (SBS)

Tax Commission (TAX)

Taxi & Limousine Commission (TLC)

Teacher’s Retirement System (TRS)

Transit Authority (NYCTA)

Transportation (DOT)

Triborough Bridge & Tunnel (TBTA)


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   Veterans' Services (DVS)

   Youth & Community Development (DYCD)



8) What is your gender?

   Female or woman

   Male or man

   Non-binary (not female/woman/male/man)

   Other (a gender not listed above)

   I choose not to disclose



9) Are you Hispanic/Latino?

   Yes

   No

   I choose not to disclose



10) What is your Race/Ethnicity?

   American Indian or Alaskan Native

   Asian

   Black of African American

   Native Hawaiian or Pacific Islander

   White

   Two or More Races

   I choose not to disclose

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11) What zip code do you reside in?*




Thank You!
Thank you for taking our survey. Your response is very important to us.




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                     CITY EXHIBIT 6




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Olga Statz, Esq.
General Counsel
Office of Administrative Trials and Hearings
100 Church Street, 12th Fl.
New York, N.Y. 10007
(212) 933-3003

From: Allison Costanzo <ACostanzo@uft.org>
Sent: Thursday, July 2, 2020 7:41 AM
To: Statz, Olga (OATH) <OStatz@oath.nyc.gov>
Cc: Slifka, Amy (OATH) <ASlifka@oath.nyc.gov>; Matthew Campese (OLR) <matthew.campese@olr.nyc.gov>; DeRoberts,
Sharina (OATH) <SDeRoberts@oath.nyc.gov>; Ilene Weinerman <iweinerman@uft.org>
Subject: UFT Hearing Officers

Dear Ms. Statz:

Since the time of my last letter to you on May 2, 2020, the Union appreciates the steps taken by OATH to
solicit input from our members regarding safety protocols, remote hearings, and other re-opening procedures.
It is my understanding that the Hearing Officers Per Session have requested, and management has agreed, to
continue discussion of the re-opening plans at a meeting of the labor-management committee scheduled for
today, July 2, 2020.

We are hopeful that this meeting can resolve the many ongoing concerns expressed by our members. Please
be advised that, to the extent that there is no resolution at the labor-management meeting of issues that are
mandatory subjects of bargaining, the Union will continue to demand bargaining over the decisions that have
been made, as well as the implementation and impact on our members.

Thank you for your cooperation.

Allison

Allison S. Costanzo, Esq.
Assistant General Counsel
United Federation of Teachers
52 Broadway, 14th Floor
New York, New York 10004
212.510.6397

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*******************************************************************************
The views, opinions, and judgments expressed in this message are solely those of the author. The message contents
have not been reviewed or approved by the UFT.
*******************************************************************************
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                                                                                                  Lisette Camilo
                                                                                                   Commissioner




               Updated Guidance for City Agencies on Leave Policy Applicable During the
                 Outbreak of Coronavirus Disease 2019 (COVID-19), eff. January 7, 2021
          This document sets forth City leave policy with respect to City employees to mitigate the risk of the
          spread of Coronavirus Disease 2019 (COVID-19). This Guidance provides leave that meets or exceeds
          the emergency leave required by Divisions C and E of the Families First Coronavirus Response Act
          (“FFCRA”), Pub. L. 116-127.1 It is effective January 7, 2021 and until further notice, and supersedes
          the November 25, 2020 guidance.

     I.      Definition

                 A. “Symptoms of COVID-19” means the following physical symptoms:2

                     •    Fever or chills
                     •    Cough
                     •    Shortness of breath or difficulty breathing
                     •    Fatigue
                     •    Muscle or body aches
                     •    Headache
                     •    Loss of taste or smell
                     •    Sore throat
                     •    Congestion or runny nose
                     •    Nausea or vomiting
                     •    Diarrhea

                 B. “Health Care Provider” means

                          1. A person licensed, when required, to provide health care as a doctor of medicine or
                             osteopathy; podiatrist; dentist; clinical psychologist; optometrist; chiropractor;
                             nurse; nurse practitioner; nurse-midwife; clinical social worker; physician assistant;
                             technician, including, but not limited to medical, laboratory, or radiological
                             technician; pharmacist; and home health-care provider and any employee who works
                             at the Department of Health and Mental Hygiene, a hospital, health care center, health
                             clinic, mobile health facility, nursing facility, nursing home, pharmacy; and

                          2. Any other person whose service is necessary to the City’s provision of health care in
                             a hospital, clinical, mobile or other appropriate setting, as determined in the
                             discretion of the City agency that employs such person or to which such person has
                             been assigned.


1
  Division C of the FFCRA is entitled the “Emergency Family and Medical Leave Expansion Act.” Division E of the FFCRA is
entitled the “Emergency Paid Sick Leave Act.”
2
  This list of symptoms is current as of the publication of this Guidance; please refer to the latest Hyman
                                                                                                      CDC listReply
                                                                                                               of symptoms forCthe
                                                                                                                     Dec. Ex.      most
                                                                                                                                 - 129
up-to-date information at https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html
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                     3. Whenever this policy requires an employee to submit documented advice provided by
                        a licensed health care provider, such licensed health care provider must be performing
                        within the scope of practice for the license, as defined by the law of the licensing
                        jurisdiction.

             C. “Emergency Responder” means an employee who is necessary for the provision of transport,
                care, health care, comfort, and nutrition of patients, or whose services are otherwise needed
                to limit the spread of COVID-19, including, but not limited to, law enforcement officers,
                correctional institution personnel, fire fighters, emergency medical services personnel,
                physicians, nurses, public health personnel, emergency medical technicians, paramedics,
                emergency management personnel, 911 operators, child welfare workers and service
                providers, public works personnel and persons with skills or training in operating specialized
                equipment or the skills needed to provide aid in a declared emergency and well as personnel
                who work for such facilities employing these individuals and whose work is necessary to
                maintain the operations of the facility.

             D. “Two workweeks” means the number of hours that an employee is regularly scheduled to
                work in a two-week period. Examples: for an employee whose regular schedule is 40 hours
                per week, two workweeks is 80 hours; for an employee whose regular schedule is 35 hours
                per week, two workweeks is 70 hours.

II.      Determination of Personnel Performing Essential and Non-Essential Services during the
         Outbreak

      Every agency shall continue to implement and refine as necessary determinations concerning which
      services it provides that are essential during the COVID-19 outbreak, consistent with the agency’s
      written Restart/Safety Plan outlining how it will reduce the risk of spread of COVID-19 in the
      workplace developed in accordance with “Managing the Return to the Office in the Age of COVID-
      19,” issued by DCAS on August 11, 2020.

         A. Essential services are defined as follows in the order of importance:

                     1. Responding to the COVID-19 Emergency

      Delivery of any service or function that is critical to the mitigation of the spread of COVID-19 and
      emergencies arising because of the outbreak or actions taken to mitigate the outbreak.

                     2. Lifesaving

      The direct, in-person delivery of lifesaving services to the public.
      Examples: Emergency medical services technicians and paramedics; 911 operators;

                     3. Life Protecting, Life Safety, Transportation, Utilities

      Direct, in-person delivery of medical care to individuals in any capacity, control and care of incarcerated



                                                        2

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       individuals or others under mandated or self-selected government custody of care of any interval, key
       personnel required to perform essential court proceedings that cannot be conducted remotely, removal /
       mitigation of environmental hazards, operation of mobility and transportation systems, and physical
       inspection or maintenance of properties and regulated public and private facilities to ensure continued
       public safety and public health and other maintenance, repair, and infrastructure to support lifesavings
       operations.

   Examples: Public Health Nurse, Shelter Workers, Marine Engineer (Ferry); traffic enforcement agents

                     4. Workforce and Internal Service Continuity

   Functions, systems, and support of critical equipment and networks that enable agency-specific and
   whole of government workforce productivity; revenue generation.

   Examples: Information technology employees who maintain citywide and agency networks and
   communications, revenue operations, essential services contract administrators; city tax auditors;
   consumer affairs inspector

          B. Non-essential services:

   Agency-specific and whole of government roles, functions, and duties that are not critically essential to
   the continued performance of the above four categories.

   Examples: records management, license processing, grant auditing

III.      Work Assignments During the COVID-19 Emergency

          A. Employees Currently Performing Non-Essential Services

   Employees who currently are not assigned to perform essential services, as defined in Part II of this
   guidance are designated “employees currently performing non-essential services.” Administrative and
   clerical office-based employees are presumptively performing non-essential services. If their presence at
   the worksite is necessary for the performance of an essential service, they may be designated by the
   Agency as an employee providing essential service. For example, an administrative employee who
   performs a task for an essential service that cannot be made accessible to the employee’s home, may be
   designated as an employee currently providing essential service.

   As agencies plan return to the office, they should continue to allow employees who perform non-
   essential services to telework whenever possible. Agencies may require employees who perform non-
   essential services to return to the office as part of its Restart/Safety Plan. When determining which
   employees should return to the office, agencies should give priority to restoring essential services and
   other important services or functions that have been suspended during the emergency because they
   cannot be performed remotely.

   All personnel who continue to work remotely are required to complete all work assignments which they
   are assigned by the Agency and which they have the technological capacity to perform at home using
   personal equipment or equipment provided by the agency (e.g., computer, phone, internet access).
                                                        3

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      Those employees may also be re-assigned to perform essential services within their agencies or by the
      City in other agencies at a location other than at their home including, but not limited to, at emergency
      services administered by the Department of Education, food services sites, and nursing care sites for
      vulnerable students, as circumstances require.

      Designation of an employee as performing non-essential services is temporary and may change to
      essential as the COVID-19 pandemic evolves. An employee who refuses to perform assigned work or to
      obtain equipment provided by the Agency to perform assigned work shall be charged accrued leave and
      may be subject to discipline. Agencies must make and document all diligent efforts to identify work that
      can be performed remotely by an employee designated as performing non-essential services. An
      employee designated as currently performing non-essential services who in the rare circumstance is
      unable to work remotely because of inadequate equipment or lack of assignment shall be granted
      excused leave with pay without charge to leave accruals.


         B. Employees Currently Performing Essential Services

                 1. Employees currently performing essential services are required to work at home or other
                    alternate location if the agency has determined that is feasible pursuant to the agency’s
                    telework plan implemented in accordance with Personnel Service Bulletin 600-3
                    (Temporary Citywide Telework Policy for City Employees During the COVID-19
                    Outbreak), dated March 13, 2020.

                 2. Employees currently performing essential services at home or other alternate location
                    must ensure that they have the necessary functioning equipment to perform his or her
                    duties. If an employee experiences a service outage (such as equipment failure, loss of
                    power or internet connectivity), the Agency may, at its discretion, assign the employee
                    to the office until the outage is resolved.

                 3. Employees who are unable to perform essential services at home, for example field
                    workers, must continue to work at the locations to which their agencies have assigned
                    them.

                         a. If an employee is exhibiting symptoms of COVID-19, the agency should instruct
                            the employee to go home. Before instructing an employee to go home under this
                            circumstance, the employee’s supervisor or manager must notify the agency’s
                            human resources department.

IV.      Leave Policy

         A. Excused Leave

                 1. General Provisions

                         a. Excused leave at full or partial pay under this Policy is immediately available to
                            an employee who is unable to work or telework without regard to length of
                            service.
                                                        4

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     b. Length of excused leave: Excused leave for an employee who tests positive for
        COVID-19 shall be available until the employee is cleared to return to work,
        such excused leave not to exceed four workweeks (20 workdays); provided that
        an employee who remains hospitalized or in a rehabilitation facility shall
        continue to receive excused leave ten workdays after the employee is released
        from the hospital or rehabilitation facility have passed. All other excused leave
        provided pursuant to the Emergency Paid Sick Leave Act (Division E of the
        FFCRA) effective April 1, 2020, is limited to a cumulative total of two
        workweeks.

     c. Part-time employees may receive excused leave for the number of bi-weekly
        hours that the employee was expected to work. Where expected hours cannot be
        readily determined, part-time employees may receive excused leave for the
        average number of bi-weekly hours that the employee worked over the six months
        preceding the leave.

     d. Excused leave under this Policy is in addition to existing rules and entitlement
        regarding leave, e.g. annual leave and sick leave.

     e. An employee may waive excused leave at partial (two-thirds) pay authorized by
        this policy and use accrued annual leave or sick leave, if applicable, during the
        period of excused leave at partial pay.

     f. Agencies shall not require employees to charge absences to other accrued leave
        during the period of excused leave authorized by this policy.

     g. Leave that an employee has taken prior to April 1, 2020 shall not be counted
        toward the amount of excused leave authorized by this Policy.

     h. An eligible employee may utilize excused leave intermittently as agreed upon by
        the agency and the employee. This leave must be taken in full-day increments if
        the employee is not teleworking. Excused leave may be taken in partial-day
        increments if the employee is teleworking and by agreement between the
        employee and the agency.

     i. The length of absence that requires an employee to submit required
        documentation upon return to work is extended from absences of more than three
        consecutive days to absences of more than five consecutive days, except as
        required under Section IV.C of this leave policy.

     j. The City’s and all Agencies’ absence control procedures are suspended until
        further notice.

     k. After the first workday (or portion thereof) that an employee receives excused
        leave under this Policy, the agency may require the employee to follow
        reasonable notice procedures to continue receiving excused leave.
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                         l. All agencies must post the attached bulletin entitled “Employee Rights” at office
                            locations, via e-mail to all employees, and/or by posting on the agency’s intranet
                            site.

                 2. Excused Leave at Full Pay – An employee is eligible for excused leave at full pay as
                    follows:

                         a. An employee is eligible for excused leave at full pay for a maximum of four
                            workweeks with a documented positive COVID-19 test except that an employee
                            who is hospitalized or in a rehabilitation facility shall continue to receive excused
                            leave for ten workdays after the employee is released from the hospital or
                            rehabilitation facility.

                         b. An employee is eligible for excused leave at full pay for up to two workweeks,
                            with any additional leave charged to applicable leave balances as follows:

                            i.   The employee is exhibiting symptoms of COVID-19 but does not, at the time
                                 symptoms develop, have a positive COVID-19 test:

                                 a) To be eligible for excused leave, an employee must provide documentation
                                    that he or she has exhibited symptoms of COVID-19 and is seeking
                                    diagnosis of COVID-19 with a Polymerase Chain Reaction (PCR)
                                    diagnostic test; provided that an employee who teleworks must provide
                                    such documentation only if the absence extends for more than five
                                    consecutive days. Documentation obtained from Teledoc or other on-line
                                    doctor’s services will be accepted.

                                 b) If the employee has any documented symptom of COVID-19, the employee
                                    must not report to work other than telework, except as permitted under
                                    Section IV.C of this leave policy, until all of the conditions are met: (1) it
                                    has been at least 10 days since their symptoms began, (2) they have not had
                                    a fever for at least 24 hours and (3) other symptoms have improved.3 An
                                    employee with no known exposure to COVID-19 through close contact or
                                    travel to a non-contiguous state may return to work earlier if he or she
                                    provides a negative polymerase chain reaction (PCR) test (not a rapid
                                    antigen test) taken at least 3 days after symptom onset with improving
                                    symptoms.

                                 c) Employees who exhaust sick leave may be advanced additional sick leave
                                    at the discretion of the Agency Head. Until further notice, the provision of
                                    advanced sick leave does not require the employee to be a permanent
                                    employee or to have more than 10 years of service.


3
 See “What New Yorkers Need to Know Now About COVID‐19,” New York City Department of Health and Mental Hygiene
(October 21, 2020) at https:// www1.nyc.gov/assets/doh/downloads/pdf/imm/coronavirus -factsheet.pdf
                                                         6

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         ii.          The employee is subject to a governmental quarantine or isolation order and is
                      unable to telework while observing the governmental quarantine or isolation
                      order.

        iii.          The employee has been advised by a licensed health care provider to self-
                      quarantine either because of exposure to COVID-19 or because of heightened
                      risk associated with exposure to COVID-19. The employee must provide
                      documentation from the licensed health care provider stating that the
                      employee is unable to telework as a result of the need to self-quarantine.

3. Excused Leave at Partial Pay. Except as provided in subsection “d” below, employees
   are eligible for two workweeks of excused leave at partial pay (two-thirds of the
   employee’s regular rate of pay, not to exceed $200 per day or a total of $2,000) as
   follows:

       a. The employee is caring for an individual subject to a governmental quarantine or
          isolation order and the employee must demonstrate that the individual depends on
          the employee for care and that he or she is unable to telework while caring for an
          individual under the governmental quarantine or isolation order.

       b. The employee is caring for an individual who has been advised by a licensed
          health care provider to self-quarantine either because of exposure to COVID-19
          or because of heightened risk associated with exposure to COVID-19. The
          employee must provide documentation of the licensed health care provider’s
          advice and must demonstrate that the individual depends on the employee for care
          and that he or she is unable to telework while caring for an individual in self-
          quarantine.

       c. The employee is caring for a son or daughter under 18 years of age whose school
          or place of care has been closed or whose child care provider is unavailable due to
          COVID-19 precautions. As required by federal regulation, the employee must
          provide documentation containing the following information:

                 i.      Employee’s name;

                ii.      Date(s) for which leave is requested;

               iii.      Qualifying reason for the leave;

               iv.       Oral or written statement that the employee is unable to work because of
                         the qualified reason for leave (in this case care for a child):

                v.       The name and age of the son or daughter being cared for;

               vi.       The name of the School, place of care or child care provider that has
                         closed or become unavailable;

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                  vii.    A communication from the school that provides the remote/hybrid
                          learning schedules for the child; and

                  viii.   A representation that no other suitable person will be caring for the child
                          during the period of leave.

             d. Health Care Providers and Emergency Responders are not eligible for excused
                leave at partial pay.

B. Leave to Care for a Child Under the Emergency Family and Medical Leave Expansion Act

      1. Leave to care for a child under the Emergency Family and Medical Leave Expansion Act
         (Division C of the FFCRA) is available only to employees who have been employed for
         thirty (30) days or longer.

      2. Health Care Providers and Emergency Responders are not eligible for leave to care for a
         child under this section.

      3. Eligible employees may take up to 12 weeks of Family Medical Leave to care for a son
         or daughter whose school or place of care has been closed or whose child care provider is
         unavailable due to COVID-19 precautions and is unable to telework.

      4. During the first ten work days of such leave, the employee may:

         a. Receive excused leave at two-thirds of the regular rate of pay not to exceed $200 per
            day or a total of $2,000, in accordance with paragraph IV (A)(3)(c) above, or

         b. Elect to utilize accrued annual leave or compensatory time.

      5. After the first ten workdays of leave to care for a child under this section, leave shall be
         paid at two-thirds of the regular rate of pay not to exceed $200 per day or a total of
         $10,000. The employee may not utilize accrued leave or compensatory time during this
         ten-week period.

      6. An eligible employee may utilize leave to care for a child intermittently as agreed upon
         by the agency and the employee. This leave must be taken in full-day increments if the
         employee is not teleworking. Excused leave may be taken in partial-day increments if the
         employee is teleworking by agreement between the employee and the agency.

      7. The maximum 12 weeks of leave under this section is reduced by the amount of the
         FMLA leave entitlement taken in that year. If an employee has exhausted his or her 12
         weeks of leave, he or she may still take two weeks of partial pay leave for a COVID-19
         qualifying reason as outlined in Section IV(A)(3).

      8. As required by federal regulation, the employee must provide documentation containing
         the following information:

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                 a. Employee’s name;

                 b. Date(s) for which leave is requested;

                 c. Qualifying reason for the leave;

                 d. Oral or written statement that the Employee is unable to work because of the
                    qualified reason for leave (in this case care for a child);

                 e. The name and age of son or daughter being cared for;

                 f. The name of the School, place of care or childcare provider that has closed or
                    become unavailable;

                 g. A communication from the school that provides the remote/hybrid learning
                    schedules for the child; and

                 h. A representation that no other suitable person will be caring for the child during
                    the period of the leave.

C. Leave for Vaccine Reactions

   Employees shall receive excused leave for reactions to coronavirus vaccination without limitation of
   any excused leave received for symptoms of COVID-19 as follows:

      1.    Employees who exhibit a cough, shortness of breath, runny nose, congestion, sore throat or
            loss of taste must follow the existing COVID-19 leave policy outlined above.

      2.    Employees who exhibit any other symptoms that are consistent with vaccine side effects
            (fever, headache, chills, muscle aches, joint pain, nausea or vomiting) are eligible for
            excused leave at full pay as follows:

            i. Fever

                   1. Employees who exhibit a fever lasting less than 24 hours after receiving the
                      vaccine are eligible for excused leave at full pay for up to two workdays. Such
                      employees may return to work when they are feeling better and they have been
                      fever-free for at least 24 hours.

                   2. Employees who exhibit a fever lasting more than 24 hours after receiving the
                      vaccine are eligible for excused leave at full pay for up to eight workdays. Such
                      employees may return to work:

                           a. When they have been fever-free for at least 24 hours and have tested
                              negative for COVID-19 using a PCR test (not a rapid antigen test)
                              OR
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              b. All of the following are met: (1) it has been at least 10 days since their
                 symptoms began, (2) they have not had a fever for at least 24 hours and
                 (3) any other symptoms have improved.

       3. To be eligible for excused leave at full pay, employees who stay out of work for
          more than two days must provide documentation showing they sought diagnosis
          of COVID-19 with a PCR diagnostic test during their leave and the date they
          received their test results. Employees must use their own sick leave for any
          additional time taken after receiving a negative test result or if they do not seek
          diagnostic testing.

ii. Fatigue, a headache, chills, muscle aches, joint pain, nausea or vomiting

       1. Employees who exhibit fatigue, a headache, chills, muscle aches, joint pain
          nausea or vomiting (and no fever) after receiving the vaccine and are not feeling
          well enough to work are eligible for excused leave at full pay for up to eight
          days.

       2. Employees whose symptoms last less than 2 days may return to work when they
          are feeling well enough to work. Employees whose symptoms last more than two
          days may return to work after:
              a. Testing negative for COVID-19 using a PCR test (not a rapid antigen test)
                  with improving symptoms
                  OR
              b. All of the following are met: (1) it has been at least 10 days since their
                  symptoms began, (2) they have not had a fever for at least 24 hours and
                  (3) any other symptoms have improved.

       3. To be eligible for excused leave at full pay, employees who stay out of work for
          more than two days must provide documentation showing they sought diagnosis
          of COVID-19 during their leave and the date they received their test results.
          Employees must use their own sick leave for any additional time taken after
          receiving a negative test result or if they do not seek diagnostic testing.




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iii. Other side effects

        1. Employees who exhibit other symptoms that are consistent with vaccine side
           effects are eligible for excused leave at full pay for up to two workdays.
           Employees must use their own sick leave for any additional time taken.
        2. Such employees may return to work when they are feeling better.




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